Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 1 of 91 Page ID #:504




    1 ROBBINS GELLER RUDMAN
        & DOWD LLP
    2 LAURIE     L. LARGENT (153493)
      STEPHEN JOHNSON (347822)
    3 655 West Broadway, Suite 1900
      San Diego, CA 92101
    4 Telephone: 619/231-1058
      619/231-7423 (fax)
    5 llargent@rgrdlaw.com
      sjohnson@rgrdlaw.com
    6
      Lead Counsel for Lead Plaintiff
    7
                           UNITED STATES DISTRICT COURT
    8
                          CENTRAL DISTRICT OF CALIFORNIA
    9
      SANDRA WASWICK, on Behalf of All ) Case No. 2:22-cv-08375-JLS(ASx)
   10 Others Similarly Situated,            )
                                            ) CONSOLIDATED CLASS ACTION
   11                          Plaintiff,   ) COMPLAINT FOR THE VIOLATION
                                            ) OF FEDERAL SECURITIES LAWS
   12        vs.                            )
                                            ) DEMAND FOR JURY TRIAL
   13 TORRID HOLDINGS INC.,                 )
      ELIZABETH MUÑOZ, GEORGE               )
   14 WEHLITZ, STEFAN L. KALUZNY, )
      DARY KOPELIOFF, LISA HARPER, )
   15 THEO KILLION, MORGAN                  )
      STANLEY & CO. LLC, BOFA               )
   16 SECURITIES, INC., GOLDMAN             )
      SACHS & CO. LLC, JEFFERIES LLC, )
   17 ROBERT W. BAIRD & CO.                 )
      INCORPORATED, COWEN AND               )
   18 COMPANY, LLC, WILLIAM BLAIR )
      & COMPANY, L.L.C., TELSEY             )
   19 ADVISORY GROUP LLC,                   )
      SYCAMORE PARTNERS                     )
   20 MANAGEMENT, L.P., SYCAMORE )
      PARTNERS TORRID, L.L.C.,              )
   21 SYCAMORE PARTNERS, L.P.,              )
      SYCAMORE PARTNERS                     )
   22 ASSOCIATES-C, L.P., SYCAMORE )
      PARTNERS ASSOCIATES, L.P.,            )
   23 SYCAMORE PARTNERS                     )
      ASSOCIATES INVESTMENTS, L.P., )
   24 SYCAMORE PARTNERS (CO-                )
      INVEST), L.L.C., and SYCAMORE         )
   25 PARTNERS ASSOCIATES CO-               )
      INVEST, L.P.,                         )
   26                          Defendants. ))
   27                                       )
   28

        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 2 of 91 Page ID #:505




    1                                             TABLE OF CONTENTS
    2                                                                                                                          Page
    3 I.         INTRODUCTION AND SUMMARY OF THE CASE ................................. 1
    4 II.        JURISDICTION AND VENUE ..................................................................... 4
    5 III.       SECURITIES ACT CLAIMS ......................................................................... 4
    6            A.         The Securities Act Parties ..................................................................... 4
    7                       1.       Securities Act Plaintiffs .............................................................. 4
    8                       2.       Securities Act Defendants .......................................................... 5
    9                                a.       Torrid and the Individual Defendants .............................. 5
   10                                b.       The Underwriter Defendants ............................................ 6
   11                                c.       The Sycamore Defendants ............................................... 7
   12            B.         Relevant Non-Parties ............................................................................ 8
   13                       1.       CW-1........................................................................................... 8
   14                       2.       CW-2........................................................................................... 9
   15            C.         Factual Allegations ............................................................................. 11
   16                       1.       Company Background and Information ................................... 11
   17                       2.       Prior to the IPO, Torrid Abandoned an Earlier IPO Due
                                     to Inventory Management Issues .............................................. 12
   18
                            3.       Torrid’s Data Driven, Low-Risk Merchandising Model .......... 14
   19
                            4.       Torrid’s Receipt of Large Quantities of Inventory
   20                                Ordered Prior to the IPO but Not Received Until After
                                     Due to Severe Shipment Delays Caused a Significant
   21                                Build-Up of Excess Inventory Throughout the Class
                                     Period ........................................................................................ 16
   22
                            5.       Torrid’s Abandonment of Its Low-Risk Merchandising
   23                                Model Exacerbated the Build-Up of Excess Inventory ............ 17
   24                       6.       Torrid’s IPO .............................................................................. 19
   25            D.         False and Misleading Statements and Omissions Made in
                            Connection with the IPO ..................................................................... 20
   26
                            1.       False and Misleading Statements and Omissions
   27                                Regarding the Company’s Data-Driven, Low-Risk
                                     Merchandising Model ............................................................... 20
   28
                                                                    -i-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 3 of 91 Page ID #:506




    1
    2                                                                                                                          Page
    3
                            2.       False and Misleading Statements and Omissions
    4                                Regarding the Distribution Center............................................ 23
    5                       3.       False and Misleading Statements and Omissions
                                     Regarding the Company’s Response to and the Impact on
    6                                the Company of the COVID-19 Pandemic............................... 24
    7            E.         Omissions Based on Violations of Items 105 and 303 of
                            Regulation S-K .................................................................................... 26
    8
                 F.         Securities Act Counts .......................................................................... 27
    9
        COUNT I ................................................................................................................. 27
   10
        Violations of §11 of the Securities Act (Against All Defendants) .......................... 27
   11
        COUNT II ................................................................................................................ 29
   12
        Violation of §12(a)(2) of the Securities Act (Against All Defendants) .................. 29
   13
        COUNT III............................................................................................................... 30
   14
        Violations of §15 of the 1933 Act (Against the Individual Defendants and
   15         Sycamore Defendants) .................................................................................. 30
   16 IV.        EXCHANGE ACT CLAIMS ........................................................................ 31
   17            A.         The Exchange Act Parties ................................................................... 31
   18                       1.       Exchange Act Plaintiffs ............................................................ 31
   19                       2.       Exchange Act Defendants ........................................................ 31
   20            B.         Defendants’ False and Misleading Statements and Omissions
                            During the Class Period ...................................................................... 32
   21
                            1.       Torrid’s IPO Registration Statement ........................................ 32
   22
                            2.       2Q 2021 Form 10-Q and Earnings Call .................................... 33
   23
                 C.         The Truth Is Revealed over Several Partially Corrective
   24                       Disclosures, While Defendants Continue to Mislead Investors ......... 37
   25                       1.       3Q 2021 Form 10-Q and Earnings Call .................................... 37
   26                       2.       January 10, 2022 Press Release ................................................ 42
   27                       3.       March 17, 2022 Earnings Call and FY 2021 SEC Form
                                     10-K .......................................................................................... 42
   28
                                                                    - ii -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 4 of 91 Page ID #:507




    1
    2                                                                                                                          Page
    3
                             4.       1Q 2022 SEC Form 10-Q and Earnings Call ........................... 48
    4
                             5.       August 3, 2022 Press Release ................................................... 52
    5
                             6.       2Q 2022 SEC Form 10-Q and Earnings Call ........................... 53
    6
                             7.       December 8, 2022 Earnings Call .............................................. 57
    7
                  D.         Additional Scienter Allegations .......................................................... 58
    8
                             1.       Torrid’s Prior Abandonment of an Earlier IPO Due to the
    9                                 Same Inventory Issues that Existed at the Time of the
                                      July 2021 IPO Supports Scienter .............................................. 58
   10
                             2.       Defendants’ Admissions that They “Carefully
   11                                 Monitored” and Reviewed Torrid’s Inventory Levels and
                                      Other Financial Metrics ............................................................ 59
   12
                             3.       Defendants’ Class Period Admissions Regarding Torrid’s
   13                                 Undisclosed Abandonment of Its Low-Risk
                                      Merchandising Model, Steep Inventory Discounts and
   14                                 Incapable Distribution Center ................................................... 60
   15                        4.       Defendants’ Detailed Responses to Pointed Analysts
                                      Questions Supports Their Actual Knowledge of the Facts
   16                                 About Which They Spoke ........................................................ 61
   17                        5.       Defendants Were Aware of Increasing Inventory Levels
                                      from Access to, or Receipt of, Inventory Count and in-
   18                                 Bound Receiving Log Reports and the KPI Dashboard ........... 64
   19                        6.       Torrid’s Lack of Internal Controls Supports Scienter .............. 65
   20                        7.       Executive Departures Support a Strong Inference of
                                      Scienter ..................................................................................... 65
   21
                             8.       Defendants’ Insider Sales During the Class Period
   22                                 Further Support an Inference of Scienter ................................. 66
   23                        9.       Defendants’ Class Period Compensation Including IPO
                                      Incentive Awards Constitutes Additional Evidence of
   24                                 Scienter ..................................................................................... 67
   25             E.         Loss Causation .................................................................................... 67
   26             F.         The Presumption of Reliance .............................................................. 70
   27             G.         Exchange Act Counts .......................................................................... 72
   28 COUNT IV .............................................................................................................. 72
                                                                    - iii -
         4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 5 of 91 Page ID #:508




    1
    2                                                                                                                    Page
    3
      Violations of §10(b) of the Exchange Act and SEC Rule 10b-5 (Against the
    4       Exchange Act Defendants) ............................................................................ 72
    5 COUNT V ................................................................................................................ 74
    6 Violations of §20(a) of the Exchange Act (Against Sycamore and the
            Individual Exchange Act Defendants) .......................................................... 74
    7
      COUNT VI .............................................................................................................. 75
    8
      Violations of §20A of the Exchange Act (Against the Sycamore Defendants
    9       and Defendants Muñoz, Wehlitz, and Harper).............................................. 75
   10 V.         SAFE HARBOR PROVISION DOES NOT APPLY................................... 78
   11 VI.        CLASS ACTION ALLEGATIONS ............................................................. 79
   12 VII. PRAYER FOR RELIEF ................................................................................ 80
   13 VIII. JURY DEMAND .......................................................................................... 81
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                 - iv -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 6 of 91 Page ID #:509




    1 I.         INTRODUCTION AND SUMMARY OF THE CASE
    2            1.         Court-appointed Lead Plaintiff City of Warren Police and Fire
    3 Retirement System (“Lead Plaintiff”) and additional plaintiff Erika Schroth
    4 (collectively, “Plaintiffs”), bring this action individually against Defendants
    5 (defined below) based upon the investigation of counsel, which included, without
    6 limitation, the review and analysis of: (a) public filings made with the United States
    7 Securities and Exchange Commission (“SEC”); (b) news releases and other
    8 publications disseminated by Defendants; (c) securities analyst reports, news
    9 articles, media reports, websites, and other information concerning Defendants and
   10 other related non-parties; and (d) an investigation conducted by Plaintiffs’ attorneys,
   11 including interviews with former Torrid Holdings Inc. (“Torrid” or the “Company”)
   12 employees. Plaintiffs believe that substantial additional evidentiary support will
   13 likely exist for the allegations set forth herein after a reasonable opportunity for
   14 discovery.
   15            2.         This securities class action alleges claims under §§11, 12(a)(2), and 15
   16 of the Securities Act of 1933 (“1933 Act” or “Securities Act”), on behalf of all
   17 persons or entities that purchased Torrid’s common stock pursuant or traceable to
   18 the public offering conducted on or about July 1, 2021 (“IPO”) and claims under
   19 §§10(b), 20(a), and 20(A) of the Securities Exchange Act of 1934 (“Exchange Act”)
   20 and Rule 10b-5 promulgated thereunder (17 C.F.R. §240.10b-5), on behalf of all
   21 persons or entities that purchased or acquired common stock of Torrid between July
   22 1, 2021, and December 8, 2022, inclusive (the “Class Period”), and who were
   23 damaged thereby.
   24            3.         Torrid is a fashion retailer headquartered in City of Industry, California
   25 specializing in plus-size apparel. Torrid sells direct to consumers through its
   26 e-Commerce platform and over 600 physical stores located throughout the United
   27
   28
                                                        -1-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 7 of 91 Page ID #:510




    1 States, Puerto Rico, and Canada. The Company is controlled by its majority
    2 shareholder, defendant Sycamore Partners Management, L.P. (“Sycamore”).
    3            4.         On July 1, 2021, Torrid was led to market by defendant Sycamore, the
    4 Company’s top executive officers and director Lisa Harper. The IPO was a great
    5 success, selling 12,650,000 shares of Torrid common stock to the public at $21 per
    6 share and collecting over $265 million in proceeds from investors. However, unlike
    7 most IPOs, none of the $265 million in proceeds raised by Torrid’s IPO went to the
    8 Company. Instead, the vast majority of the proceeds went directly to defendants
    9 Sycamore, Elizabeth Muñoz (“Muñoz”), Chief Executive Officer (“CEO”), George
   10 Wehlitz (“Wehlitz”), Chief Financial Officer (“CFO”), and Lisa Harper (“Harper”),
   11 director and CEO as of May 2022. Unbeknownst to investors, Defendants used the
   12 IPO to take Torrid public by making untrue claims about the Company, then
   13 pocketing millions in proceeds, leaving investors damaged.
   14            5.         In selling investors on the IPO, Defendants assured the market that
   15 Torrid’s business model was resilient and largely immune to the effects of COVID-
   16 19 related disruptions. Defendants claimed that the Company’s “data driven, low-
   17 risk merchandising” model, which included a less trend-driven inventory of Basic
   18 and Core styles, data-driven merchandising decisions, a highly flexible and quick to
   19 react merchandising strategy, and a condensed product development cycle,
   20 contributed to the Company’s ability to sell >80% of its products at full price, limited
   21 inventory risk, and resiliency against the macroeconomic conditions that were
   22 weighing on and impacting other retailers in the fashion industry. These claims,
   23 however, were far from the truth.
   24            6.         In fact, prior to the IPO, internal conditions existed at the Company that
   25 were impacting Torrid’s inventory levels and gross margins, that would continue
   26 well after the IPO. In the months leading up to the IPO, Torrid was experiencing
   27 increasingly delayed shipments of inventory from its Asia–Pacific manufacturers,
   28 due to increased port congestion and COVID-19 related factory closures, that were
                                                        -2-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 8 of 91 Page ID #:511




    1 causing a cascade effect on the Company’s business. Because of a lack of storage
    2 capacity, resource constraints and high employee turnover at the Company’s Ohio
    3 Distribution Center (defined below), these shipment delays were causing a massive
    4 accumulation of excess inventory that could not be timely processed into the
    5 Company’s inventory management system, or be used to fulfill customer orders. In
    6 addition, Torrid’s inability to process the incoming inventory resulted in an artificial
    7 boost to the Company’s gross margins, net income, and Adjusted EBITDA (earnings
    8 before interest, taxes, depreciation, and amortization) that were reported in Torrid’s
    9 Registration Statement because the trailer inventory was not being received or
   10 accounted for in the Company’s inventory management system at the time of the
   11 IPO.
   12            7.         Compounding this problem, was the fact that at the time of the IPO
   13 Torrid had also abandoned its data driven, low risk merchandising model and,
   14 instead was increasing purchase orders for inventory because of supply chain
   15 inconsistences and dramatically increasing manufacturing lead-times for its
   16 products. As a result of these undisclosed internal conditions, after the IPO and into
   17 2022, the Company was forced to sell its products at higher discounts to clear a glut
   18 of excess inventory that resulted from these conditions, driving down the Company’s
   19 margins and profitability.
   20            8.         After Defendants handsomely profited from the IPO, they continued to
   21 mislead investors by failing to disclose the full truth about Torrid’s continuing glut
   22 of unprocessed inventories and declining margins during the Class Period. Through
   23 a series of partial disclosures beginning in December 2021, investors began to learn
   24 the truth about the Company’s supply chain and inventory issues as Torrid publicly
   25 reported its financial results and the downward trajectory of its gross margins and
   26 increasing inventory. By the end of the Class Period on December 9, 2022, Torrid’s
   27 stock had declined to $3.35 per share, an 84% fall from the $21 IPO price and the
   28 price at which Defendants sold more than $265 million of Torrid stock.
                                                     -3-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 9 of 91 Page ID #:512




    1 II.        JURISDICTION AND VENUE
    2            9.         The claims asserted herein arise under §§11, 12(a)(2), and 15 of the
    3 Securities Act (15 U.S.C. §§77k, 77l(a)(2), and 77(o)), and §§10(b), 20(a), and 20A
    4 of the Exchange Act (15 U.S.C. §§78j(b), 78t(a), and 78t-1) and SEC Rule 10b-5
    5 (17 C.F.R. §240.10b-5) promulgated thereunder.
    6       10. This Court has jurisdiction over the subject matter of this action
    7 pursuant to 28 U.S.C. §1331, §22 of the 1933 Act (15 U.S.C. §77v) and §27 of the
    8 Exchange Act (15 U.S.C. §78aa).
    9      11. Venue is properly laid in this District pursuant to §22 of the Securities
   10 Act, §27 of the Exchange Act and 28 U.S.C. §1391(b) and (c). The acts and conduct
   11 complained of herein occurred in substantial part in this District.
   12            12.        In connection with the acts alleged in this complaint, Defendants,
   13 directly or indirectly, used the means and instrumentalities of interstate commerce,
   14 including, but not limited to, the mails, interstate telephone communications, and the
   15 facilities of the New York Stock Exchange (the “NYSE”).
   16 III. SECURITIES ACT CLAIMS
   17
                 A.         The Securities Act Parties
   18
                            1.    Securities Act Plaintiffs
   19
                 13.        Lead Plaintiff City of Warren Police and Fire Retirement System is a
   20
        public pension fund in Warren, Michigan, managed by a board of elected and
   21
        appointed officials, comprising pension and retirement plans for the benefit of the
   22
        personnel of the Police and Fire Departments of Warren, Michigan, and for the
   23
        widows and children of such members. Lead Plaintiff has approximately $275
   24
        million in assets under management and hundreds of plan participants. Lead
   25
        Plaintiff, as set forth in its certification previously filed with the Court, incorporated
   26
        by reference herein, purchased or otherwise acquired Torrid common stock during
   27
   28
                                                      -4-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 10 of 91 Page ID #:513




    1 the Class Period at artificially inflated prices pursuant and/or traceable to the IPO,
    2 and was damaged thereby. ECF 15-2.
    3            14.        Plaintiff Erika Schroth, as set forth in the attached certification,
    4 incorporated by reference herein, purchased or otherwise acquired Torrid common
    5 stock at artificially inflated prices pursuant and/or traceable to the IPO, and was
    6 damaged thereby.
    7                       2.    Securities Act Defendants
    8                             a.    Torrid and the Individual Defendants
    9            15.        Defendant Torrid, a wholly owned subsidiary of Torrid Holdings LLC,
   10 is a Delaware corporation headquartered in City of Industry, California. Torrid is a
   11 direct-to-consumer brand of women’s plus-size apparel and intimates. Torrid
   12 common stock trades on the NYSE under the ticker symbol “CURV.”
   13     16. Defendant Elizabeth Muñoz was the CEO, President, and a director of
   14 Torrid at the time of the IPO. Following the IPO, in May 2022, Torrid announced
   15 that defendant Muñoz had resigned as CEO and from the Torrid Board of Directors
   16 (the “Board”) and was assuming a new role as the Company’s Chief Creative
   17 Officer. Defendant Muñoz sold approximately $5 million worth of her personal
   18 Torrid shares in the IPO.
   19            17.        Defendant George Wehlitz was the CFO of Torrid at the time of the
   20 IPO. Shortly after the IPO, in December 2021, Torrid announced defendant Wehlitz
   21 was retiring, effective May 2022. Defendant Wehlitz sold over $4 million worth of
   22 his personal Torrid shares in the IPO.
   23        18. Defendant Stefan L. Kaluzny (“Kaluzny”) was a director of Torrid at
   24 the time of the IPO. Defendant Kaluzny is a co-founder and Managing Director of
   25 defendant Sycamore Partners Management, L.P. As described below, defendant
   26 Sycamore sold over $210 million worth of Torrid shares in the IPO through its
   27
   28
                                                     -5-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 11 of 91 Page ID #:514




    1 subsidiaries and was the Company’s controlling shareholder before, during, and after
    2 the IPO.
    3            19.        Defendant Dary Kopelioff (“Kopelioff”) was a director of Torrid at the
    4 time of the IPO.              Defendant Kopelioff is a Managing Director of defendant
    5 Sycamore. As described below, defendant Sycamore sold over $210 million worth
    6 of Torrid shares in the IPO through its subsidiaries and was the Company’s
    7 controlling shareholder before, during, and after the IPO.
    8            20.        Defendant Lisa Harper was a director of Torrid at the time of the IPO
    9 and had served as a member of the Company’s Board and its predecessor since 2008.
   10 Defendant Harper became Torrid’s CEO in May 2022, following defendant Muñoz’s
   11 transition to a different role at the Company. Defendant Harper sold over $14
   12 million worth of her personal Torrid shares in the IPO.
   13            21.        Defendant Theo Killion (“Killion”) was a director of Torrid at the time
   14 of the IPO.
   15            22.        The defendants referenced above in ¶¶16-21 are collectively referred to
   16 herein as the “Individual Defendants.”
   17                             b.    The Underwriter Defendants
   18            23.        Defendants Morgan Stanley & Co. LLC, BofA Securities, Inc.,
   19 Goldman Sachs & Co. LLC, Jefferies LLC, Robert W. Baird & Co. Incorporated,
   20 Cowen and Company, LLC, William Blair & Company, L.L.C., and Telsey
   21 Advisory Group LLC acted as underwriters of the IPO.
   22            24.        The Defendants referenced in ¶23 are referred to herein as the
   23 “Underwriter Defendants.”
   24       25. The Underwriter Defendants acted together as an underwriting
   25 syndicate and participated in drafting and disseminating the Registration Statement
   26 in connection with the IPO.
   27
   28
                                                      -6-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 12 of 91 Page ID #:515




    1            26.        The Underwriter Defendants were responsible for ensuring the
    2 completeness and accuracy of the various statements contained in, or incorporated
    3 by reference into, the Registration Statement used in connection with the IPO.
    4            27.        The Underwriter Defendants participated in the sale of more than $265
    5 million of Torrid common stock to the Class.
    6            28.        The Underwriter Defendants collectively received more than $17
    7 million for their participation in the IPO.
    8                             c.    The Sycamore Defendants
    9            29.        Defendant Sycamore Partners Management, L.P. is a private equity
   10 firm based in New York, specializing in retail, distribution, and consumer
   11 investments, with brands like Belk, Express, Ann Taylor, Lane Bryant, The Limited,
   12 and Staples, Inc. among its investment portfolio at the time of the IPO. Sycamore
   13 acquired Torrid in 2013 and was the majority shareholder of Torrid at the time of
   14 the IPO, controlling its operations and any actions requiring approval of Torrid
   15 shareholders. Sycamore sold over $210 million of its Torrid common stock shares
   16 in the IPO. In connection with IPO, Torrid entered a “Stockholders’ Agreement”
   17 with Sycamore, entitling Sycamore to nominate a majority of Torrid’s Board so long
   18 as it maintains its majority share of Torrid common stock. Sycamore continues to
   19 be Torrid’s controlling, majority shareholder.
   20            30.        Defendants Sycamore Partners Torrid, L.L.C., Sycamore Partners, L.P.,
   21 Sycamore Partners Associates-C, L.P., Sycamore Partners Associates, L.P.,
   22 Sycamore Partners Associates Investments, L.P., Sycamore Partners (Co-Invest),
   23 L.L.C., and Sycamore Partners Associates Co-Invest, L.P. are referred to herein as
   24 the “Sycamore Entities.” Defendant Sycamore held its investment in Torrid through
   25 the Sycamore Entities and sold shares in the IPO through the Sycamore Entities.
   26            31.        Each of the Sycamore Entities were controlled, at all times relevant,
   27 directly or indirectly by defendant Kaluzny.
   28
                                                      -7-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 13 of 91 Page ID #:516




    1            32.        Defendant Sycamore and the Sycamore Entities are referred to
    2 collectively herein as the “Sycamore Defendants.”
    3            33.        Torrid, Individual Defendants, Underwriter Defendants, and Sycamore
    4 Defendants are referred to herein, collectively, as “Defendants” or the “Securities
    5 Act Defendants.”
    6            B.         Relevant Non-Parties
    7                       1.    CW-1
    8            34.        CW-1 worked at Torrid’s Distribution Center from December 2019
    9 until March 2022 as an Inventory Control (“IC”) and Audit Specialist. CW-1’s role
   10 was primarily concerned with database management of inventory and CW-1 was
   11 tasked with tracking inventory that was received at the Distribution Center. CW-1
   12 also worked with the Company’s Warehouse Management System Administrator to
   13 identify and reconcile errors in the Company’s warehouse management system
   14 (“WMS”). CW-1 had access to the WMS, which included detailed inventory
   15 accounting. CW-1 monitored the WMS on a daily basis, sending daily adjustment
   16 and error summaries to upper-level management at the Distribution Center as well
   17 as various members of management located at the Company’s headquarters in City
   18 of Industry, California. In addition to CW-1’s WMS responsibilities, CW-1 was
   19 tasked with creating employee identification cards for each newly arriving employee
   20 at the Distribution Center, receiving emails each week with spreadsheets listing
   21 employees that needed identification cards.
   22       35. According to CW-1, in the months leading up to the IPO, Torrid had
   23 been late in receiving merchandise orders from its manufacturers and suppliers – in
   24 some cases up to three months after scheduled deliveries. CW-1 also reported that
   25 before the IPO, inventory flow into the Distribution Center was a constant problem
   26 and created increasingly growing customer order backlogs, to the point that millions
   27 of customer orders remained unfulfilled, because of the delayed shipments and not
   28
                                                     -8-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 14 of 91 Page ID #:517




    1 enough human resources at the Distribution Center to process the inventory as it was
    2 delivered. At certain points during CW-1’s tenure as many 50 or 60 trailers full of
    3 unprocessed inventory were parked in the Distribution Center parking lot. CW-1
    4 stated that when the trailer inventory was eventually processed into the Distribution
    5 Center, it did not move until promotional activities, including “flash sales,” which
    6 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
    7 to sell the inventory.
    8            36.        Compounding the effects of the Company’s delayed and newly arriving
    9 merchandise shipments was high and increasing turnover at the Distribution Center.
   10 CW-1 stated that rates of employee turnover – which CW-1 was aware of as CW-1
   11 was required to create a new badge for each incoming employee – more than doubled
   12 following the IPO, to the point that the Company was hiring roughly 30 to 40 new
   13 Distribution Center employees per week. According to CW-1, the Company was
   14 forced to hire “literally everyone,” regardless of experience and without imposing
   15 basic skills testing or drug testing. According to CW-1, the high employee turnover
   16 rates negatively impacted the performance at the Distribution Center and were
   17 occurring at the same time customer order backlogs were growing. According to
   18 CW-1, backlogged orders were taking up to two to three months to fill.
   19                       2.    CW-2
   20            37.        CW-2 worked at Torrid’s Distribution Center from April 2019 until
   21 November 2022. CW-2 first held the role of Operations Supervisor from February
   22 2020 through December 2020, then transitioning to the position of WMS
   23 Administrator/IC Supervisor from December 2020 until CW-2’s departure in
   24 November 2022.
   25            38.        As an IC Supervisor, CW-2 oversaw a team that performed daily counts
   26 of inventory in the Distribution Center. These daily counts were designed to ensure
   27 that inventory was in the right place and that the Distribution Center conformed to
   28 certain targets set by Torrid’s corporate office. CW-2 submitted periodical reports
                                                     -9-
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 15 of 91 Page ID #:518




    1 of these counts to employees at Torrid headquarters. CW-2 also monitored incoming
    2 inventory, creating reports called “In-Bound Receiving logs,” which were sent
    3 periodically to corporate headquarters. The logs sent to the Company’s headquarters
    4 included detailed information about the flow of inventory from Torrid’s suppliers to
    5 the Distribution Center, including the number of trailers received and incoming,
    6 whether those trailers had not been processed into the Distribution Center, and
    7 identification numbers for those trailers.
    8            39.        Following the IPO, Torrid’s inventory levels at the Distribution Center
    9 had almost doubled and included late deliveries of inventory. An influx of inventory
   10 was delivered later than it had been expected.                The Distribution Center had
   11 insufficient capacity to handle these increased levels. CW-2 reported that because
   12 of capacity constraints more than 500,000 units of inventory were stacked on pallets
   13 on the floor of the Distribution Center. In addition there were around 40 truck
   14 trailers parked outside with unprocessed inventory. According to CW-2, a single
   15 trailer could hold up to 1,000 cartons. A carton, on average, held 30 units of
   16 inventory. Thus, while CW-2 stated it was hard to say exactly how many units of
   17 inventory the 40 trailers parked outside the Distribution Center accounted for, the
   18 units of inventory held in the trailers was potentially over one million. These trailers
   19 would remain un-received for weeks, and in some cases not formally received in the
   20 Distribution Center until the following quarter. CW-2 confirmed that inventory was
   21 not formally received until it was unloaded, physically brought into the Distribution
   22 Center, and scanned into Torrid’s systems.
   23            40.        The trailers not being brought into and formally received into the
   24 Distribution Center in a timely manner was problematic for the Company, as CW-2
   25 stated. The lack of capacity and delayed deliveries, according to CW-2, prevented
   26 the Company from getting ready and being able to receive new seasonal inventory.
   27            41.        CW-2 echoed CW-1’s account that employee turnover at the
   28 Distribution Center was high. CW-2 noted that the high rates of turnover impacted
                                                      - 10 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 16 of 91 Page ID #:519




    1 the Distribution Center as the Company was constantly having to train new
    2 personnel, leading to inventory inaccuracies and errors. These constant waves of
    3 new employees often placed products in the wrong locations, causing further
    4 inefficiencies at the Distribution Center
    5            C.         Factual Allegations
    6                       1.    Company Background and Information
    7            42.        Torrid was a plus-size clothing brand sold by its former parent company
    8 Hot Topic, Inc., for more than a decade, until the Torrid brand was acquired, along
    9 with parent company Hot Topic, by defendant Sycamore in 2013 and became a
   10 stand-alone company in March 2015 when it opened its flagship store.
   11       43. In the years leading up to the IPO, according to Defendants, Torrid was
   12 one of the fastest growing direct-to-consumer brands in the plus-size apparel and
   13 intimates market, growing net sales at an annual compounded rate of over 8% from
   14 2017 to 2020.
   15        44. In 2018, Torrid acquired its only distribution facility located in West
   16 Jefferson, Ohio (the “Distribution Center”), where Torrid maintains all its inventory.
   17            45.        At the time of the IPO, the Distribution Center managed receipt and
   18 storage of the Company’s inventory, and sorting, packing and distribution of
   19 merchandise for e-Commerce orders and its retail stores. All of Torrid’s
   20 e-Commerce order fulfillment was handled at the Distribution Center. In FY 2020,
   21 70% of Torrid’s sales were through e-Commerce.
   22      46. For Torrid to successfully operate and grow its business (merchandise
   23 sales to customers), it was critical that Torrid’s Distribution Center have adequate
   24 capacity to support the Company’s operations and inventory flow. The Registration
   25 Statement assured investors that the Distribution Center was a fully-functional, state-
   26 of-the-art facility capable of handling the Company’s existing and future needs.
   27
   28
                                                      - 11 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 17 of 91 Page ID #:520




    1            47.        Torrid has certain “Basic” and “Core” products it sells throughout the
    2 year and introduces new lines of merchandise (assortments) approximately 16 times
    3 per year, which provide a consistent flow of new inventory that helps maintain
    4 product freshness, in-stock availability, customer engagement, and repeat business,
    5 as well as attracting new customers. Torrid’s merchandise fell into three categories:
    6 Basic styles, which were proven silhouettes, in basic colors that were year-around-
    7 best-sellers; Core styles, which were seasonal best-sellers with similar silhouettes to
    8 the Basic styles; and new products, which leveraged proven silhouettes but had a
    9 more dramatic pattern or embellishment. Torrid’s Basic, Core, and new products
   10 made up 19%, 67%, and 14% of Torrid’s merchandise, respectively.
   11            48.        Torrid’s Distribution Center used a WMS, known as Highjump, to track
   12 and manage the Company’s inventory and order fulfillment. The WMS had a
   13 25-part Key Performance Indicator (“KPI”) dashboard that generated inventory
   14 related reports, including inventory valuation reports, and order fulfillment reports,
   15 to which Torrid’s executives had access. When new inventory arrived at the
   16 Distribution Center, Torrid’s standard process for receiving the inventory was to
   17 scan the incoming inventory into the WMS so it could be tracked and managed from
   18 the time it was scanned through sale. Most of the newly arrived inventory stock
   19 arrived at the Distribution Center in trailer trucks.
   20            49.        At the time of the IPO, approximately 96% of Torrid’s merchandise
   21 was sourced outside of the United States, primarily from manufacturers in Asia-
   22 Pacific.
   23                       2.    Prior to the IPO, Torrid Abandoned an Earlier IPO
                                  Due to Inventory Management Issues
   24
                 50.        Prior to the IPO, the Company had been experiencing supply chain and
   25
        inventory problems for years. In fact, in July 2017 Defendants attempted to take
   26
        Torrid public and filed a registration statement with the SEC (“2017 Registration
   27
        Statement”), but because of inventory management problems, Defendants withdrew
   28
                                                     - 12 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 18 of 91 Page ID #:521




    1 the 2017 Registration Statement in April 2019, stating: “The Company believes that
    2 the withdrawal of the Registration Statement would be consistent with the public
    3 interest and the protection of investors.”
    4            51.        In a news article published on the day of Torrid’s IPO, the author
    5 summarized Muñoz’s explanation for Torrid’s withdrawal of the 2017 Registration
    6 Statement, “Torrid had experienced skyrocketing growth year over year but, as
    7 sometimes happens, it had skipped some critical steps that would become important
    8 at some point,” and “Among other things, the chain had an inventory problem. And
    9 its IT functions were still being handled by Hot Topic.” 1
   10            52.        In the article, Muñoz also stated that Defendants withdrew the 2017
   11 Registration Statement because of the inventory management issues, including lack
   12 of discipline and an unmanageable depth/breadth of product offerings (identified by
   13 stock-keeping-units (“SKUs”)). In the article, Muñoz was quoted, stating:
   14            We didn’t have our head around inventory management. We had no
   15            targets or disciplines around how we acquired inventory. And as a
   16            product person, I felt there was a constant proliferation of SKUs. So
   17            with not having our inventory problem sorted out, and not having all
   18            the right leadership in place, we pulled the filing. It just didn’t feel like
   19            the right time.
   20            53.        Quoting Muñoz, the article also stated that the Company had
   21 purportedly implemented the changes needed to correct the inventory management
   22 issues and make Torrid the “fully-functioning independent company that it is today,”
   23 including putting in a new leadership team to deploy core disciplines and targets and
   24 reduce SKUs by 20%, which improved margins.
   25
   26   1
             See Marianne Wilson, Exclusive: Torrid CEO sees plenty of room for
      growth, Chain Store Age (July 1, 2021), https://chainstoreage.com/exclusive-
   27 torrid-ceo-sees-plenty-room-growth.
   28
                                                    - 13 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 19 of 91 Page ID #:522




    1            54.        During the interview, Muñoz also assured investors that “the timing
    2 was right this time around for our IPO, both culturally as well as where we are as a
    3 company,” thereby assuring investors that the Company’s operations, specifically
    4 inventory management, were no longer presenting problems.
    5                       3.    Torrid’s Data Driven, Low-Risk Merchandising
                                  Model
    6
                 55.        Torrid’s IPO took place during the COVID-19 pandemic. In selling
    7
        investors on the IPO, Defendants emphasized that Torrid’s business model had
    8
        demonstrated resiliency to COVID-19-related disruptions and allowed the Company
    9
        to grow sales despite industry-wide supply chain headwinds. Torrid differentiated
   10
        itself from other women’s plus-size retailers through its focus on a better fitting
   11
        proprietary product, and through the Company’s “data-driven, low-risk
   12
        merchandising model,” claiming both were driving Torrid’s growing profits and
   13
        margins.
   14
                 56.        Defendants told investors that Torrid’s “data-driven, low-risk
   15
        merchandising model” utilized a robust collection of data from its customer loyalty
   16
        program to assess sales, market trends and new product development to inform
   17
        purchasing decisions. As a result, the Company had the flexibility to react quickly
   18
        to product performance, make in-season inventory purchasing adjustments and
   19
        respond to the latest sales trends, all of which lowered inventory risk.
   20
                 57.        Defendants also told investors that Torrid’s low-risk merchandising
   21
        model utilized a “read-and-react” testing approach, in which it purchased and
   22
        produced small quantities of a new style before ramping up production in case the
   23
        product was unpopular, thereby minimizing inventory risk.
   24
                 58.        Defendants told investors that Torrid’s low-risk merchandising strategy
   25
        allowed the Company to generate approximately 80% of its net sales from products
   26
        sold at regular price and assured investors that the execution of the low-risk
   27
        merchandising model drove the Company’s substantial growth and healthy gross
   28
                                                      - 14 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 20 of 91 Page ID #:523




    1 profit margin performance in the quarters leading up to the IPO and would continue
    2 to do so thereafter.
    3            59.        Defendants also told investors that another factor in Torrid’s impressive
    4 pre-IPO growth rates was its enhanced supply chain flexibility, referred to as the
    5 “speed model.” Traditionally, the process of bringing new fashion products to
    6 market can take months. The purpose of Torrid’s speed model was to drastically
    7 reduce this time by using data and technology to make faster decisions and optimize
    8 the Company’s supply chain to accelerate product replenishment cycles, improve
    9 inventory turnover and drive higher margin sales.
   10            60.        In fact, Defendants told investors that in response to COVID-19 supply
   11 chain issues, the Company implemented initiatives to enhance its speed model to
   12 “shorten [its] development cycle by two weeks” through “targeted investments and
   13 changes to [its] process to improve the speed and flexibility of [its] supply chain.”
   14            61.        The Company’s IPO Roadshow Presentation reiterated Torrid’s
   15 claimed resiliency to the COVID-19 related industry disruptions other retailers were
   16 experiencing. Torrid told investors that its “agile” response to COVID-19 before
   17 the IPO led the Company to dramatically improve comparable sales in 3Q 2020 to
   18 1Q 2021.2 While 1Q and 2Q 2020 (February through July 2020) saw negative
   19 comparable sales growth ((38%) and (2%), respectively) amidst steep demand
   20 declines and temporary store closures due to COVID-19, initiatives implemented by
   21 Torrid during COVID-19, including investment in omni-channel offerings and
   22 shortened product development cycle (“speed” approach), accelerated comparable
   23 sales growth trajectory over the next 3 quarters leading up to the IPO (3Q 2020, 4Q
   24 2020, and 1Q 2021): 4%, 8%, and 24% (compared to 1Q 2019 and 108% vs 1Q
   25 2020), respectively.
   26
      2
         As used herein, “Q” means the Company’s fiscal quarter and “FY” means the
   27 Company’s fiscal year (e.g., 1Q 2020 means the first fiscal quarter of 2020, and FY
      2020 mean fiscal year 2020).
   28
                                                       - 15 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 21 of 91 Page ID #:524




    1            62.        Defendants’ claims regarding Torrid’s data driven, low-risk
    2 merchandising model were important to investors. Following the IPO, analysts from
    3 investment research firms initiated coverage on the Company, describing Torrid’s
    4 data driven, low-risk merchandising model as key to Torrid’s stock price valuation
    5 moving forward.
    6            63.        For example, analysts from Cowen Equity Research initiated coverage
    7 on July 26, 2021, with a rating of “Outperform,” citing Torrid’s “data-driven
    8 merchandising strategy that enables the [C]ompany to read-and-react to consumer
    9 demand” thus “decreasing promotional risk,” naming Torrid’s inventory
   10 management systems as among the Company’s “top 3 competitive advantages.”
   11            64.        Similarly, analysts from Jefferies initiated coverage with a rating of
   12 “Buy,” also touting Torrid’s “sourcing and merchandising model,” describing it as,
   13 “highly flexible” and “contributing to strong full-price selling.”
   14            65.        Analysts from Telsey Advisory Group also initiated coverage with an
   15 “Outperform” rating, stating Torrid’s “enhanced supply chain flexibility” has
   16 positioned the Company for “operating margin expansion as the topline grows.”
   17            66.        Analysts from William Blair initiated coverage with a rating of
   18 “Outperform” stating: “The [C]ompany’s proprietary merchandise model is a key
   19 differentiator that sets the [C]ompany apart from other retailers” providing “minimal
   20 inventory risk.” William Blair also repeated Torrid’s claims that the Company had
   21 “swiftly recovered following pandemic-related disruptions.”
   22                       4.    Torrid’s Receipt of Large Quantities of Inventory
                                  Ordered Prior to the IPO but Not Received Until
   23                             After Due to Severe Shipment Delays Caused a
                                  Significant Build-Up of Excess Inventory Throughout
   24                             the Class Period
   25            67.        Beginning in late 2020 and continuing to the time of the IPO and after,
   26 Torrid was experiencing increased merchandise shipment delays - in some cases up
   27 to three months - due to port congestion in Long Beach and Los Angles, and factory
   28 closures of its Asia-Pacific manufacturers. As CW-1 reported, before the IPO,
                                                      - 16 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 22 of 91 Page ID #:525




    1 inventory flow into the Distribution Center was a constant problem. The delayed
    2 shipments, coupled with not enough human resources at the Distribution Center to
    3 process the inventory as it was eventually delivered, created increasingly growing
    4 customer order backlogs, to the point that millions of customer orders remained
    5 unfulfilled in the months before the IPO. CW-1 confirmed backlogged orders were
    6 taking up to 2 to 3 months to fill.
    7            68.        The delayed shipments were also causing Torrid to miss seasonal
    8 launches, such as spring/summer, which created excess inventory that either didn’t
    9 move or could not be sold at full price because it was seasonally stale. As CW-1
   10 reported, when the delayed inventory was eventually processed into the Distribution
   11 Center, it did not sell until promotional activities, including “flash sales,” which
   12 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
   13 to move the inventory.
   14                       5.    Torrid’s Abandonment of Its Low-Risk
                                  Merchandising Model Exacerbated the Build-Up of
   15                             Excess Inventory
   16            69.        The inventory issues resulting from the delayed shipments and the
   17 Distribution Center’s lack of resources, were compounded by the fact that prior to
   18 the IPO, Torrid had abandoned its data driven, low risk merchandising model. In
   19 the months leading up to the IPO, lead-time for the manufacture of Torrid’s products
   20 had dramatically increased, severely limiting Torrid’s ability to quickly respond to
   21 consumer demand, and forcing Torrid to abandon it low-risk merchandising model
   22 in favor of purchasing large quantities of product up front.
   23            70.        Also, at the time of the IPO Torrid was not expanding its assortment of
   24 new products, but instead was over positioning itself and exceeding planned
   25 merchandise levels for certain styles, including Basics and Core styles and Curve
   26 inventory. Thus, by the time of the IPO, Torrid had completely lost its ability to
   27 accurately monitor demand and adjust inventory levels in real-time, to ensure it had
   28 the right products on hand to meet customer needs without carrying excess
                                                      - 17 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 23 of 91 Page ID #:526




    1 inventory. These conditions resulted in Torrid being over-stocked in many of the
    2 Company’s Basic, Core, and Curve line styles by the time of the IPO and continuing
    3 after, the IPO.
    4            71.         Indeed, following the IPO, the impact of abandoning the low-risk
    5 merchandising model, including data driven merchandise decisions, read-and-react
    6 testing and using the speed model to reduce product development time, was dramatic
    7 as Torrid’s inventory-to-sales ratio skyrocketed. By the beginning of 2022, Torrid’s
    8 inventory had increased 61% from the prior year while sales had only increased
    9 7.81%. The following charts demonstrate this trend in the quarters following the
   10 IPO:
   11
                                      Class Period Inventory v. Sales Growth (YOY)
   12                       70.00%

   13                       60.00%

                            50.00%
   14
                            40.00%
   15                       30.00%

   16                       20.00%

                            10.00%
   17
                             0.00%
   18                                 3Q'21    4Q'21        1Q'22         2Q'22   3Q'22
                            ‐10.00%
   19                                             ■ Inventory   ■ Sales

   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                       - 18 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 24 of 91 Page ID #:527




    1
    2
                                                       Torrid - Key Financial Metrics
    3                  <Fhrnf'es in thousands of dollars excevt 1>erceota2es, ratios, and davs sales ol1tstaudiu2)
         Qllarte1·           20'20   30'20   40'20   10'21   20'21   30'21   40'21                     10'22   20'22       30'22
    4    Inventory          128,139 131.100 105.843 111,929 110.330 159.499 170,608                   178.83 1 180,738    199 877
         Revenue            249,226 270,129 308,338 325,747 332,870 306,241 332,413                   328,409 340,876     290,034
    5    Cot of
                            169,24   174,601   183,834     180,8 l    183,150   J8J ,094   214,767    203,263   222,030   198,263
         Revenue
    6    Gross P:roflt      79,981   95 ,528   124,504     144,932    149,720   125,147    11 7 646   125,146   118,846   91 ,771
         Gro
                            32.10%   3 .40%    40.4-0%     44.50%       4%      40.90%     35.40%     38.10%    34.90%    31.60%
    7    Marilin
         Inventory
    8    Turnover            1.388    l.418     1.526       1.682       1.63     J.592      J.231      1.27 1    1.103     1.077
         Ratio
    9    Day Sal
                             67.7     67.6      58.6         54.8       55.2     67.8       69.9       78.2      73.7      87.3
         of Inventory
         ID nto -
   10    to- ales             0.5      0.5       0.4         0.3        0.3       0.4        0.5        0.5       0.5       0.7
   11    Ratio


   12                        6.      Torrid’s IPO
   13            72.         On June 7, 2021, Torrid publicly filed a registration statement on Form
   14 S-1 with the SEC in connection with the planned sale of Torrid common stock.
   15            73.         On June 23, 2021, Torrid announced the launch of the Company’s
   16 roadshow. To raise interest in Torrid stock in the week leading up to the IPO, Torrid
   17 and the Underwriter Defendants made presentations to investors (the “Roadshow”)
   18 using a prepared slide deck (the “Roadshow Presentation”) that pitched the
   19 Company, including its past and projected financial performance.
   20            74.         Following two amendments, the registration statement was deemed
   21 effective on June 30, 2021 (collectively referred to as “Registration Statement”), and
   22 was then used to sell more than $265 million of Torrid common stock in Torrid’s
   23 July 1, 2021 IPO.
   24            75.         Torrid’s IPO, however, did not serve the usual purpose of an initial
   25 public offering – raising money for the issuing business, to fund continued
   26 operations, potential growth, or strategic transactions. In fact, while Torrid paid at
   27 least $6 million in costs related to the IPO, Torrid did not make any money at all
   28 from the IPO of its common stock. Rather, each of the 12,650,000 shares of Torrid
                                                                     - 19 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 25 of 91 Page ID #:528




    1 common stock sold in the IPO were sold by insiders, including current and former
    2 members of the Board and Company executives, and its parent company Sycamore.
    3 More than 10.8 million of those shares were sold by Defendants to this action,
    4 netting Defendants more than $230 million in proceeds.
    5            D.         False and Misleading Statements and Omissions Made in
                            Connection with the IPO3
    6
    7                       1.   False and Misleading Statements and Omissions
                                 Regarding the Company’s Data-Driven, Low-Risk
    8                            Merchandising Model

    9            76.        The Roadshow Presentation repeated the Company’s false statements
   10 regarding its purported nimble merchandising model. Defendants called the
   11 Company’s “[d]ata-[d]riven, [l]ow-[r]isk [m]erchandising [m]odel” one of the
   12 IPO’s “Investment Highlights.” Defendants also referred to the Company’s
   13 merchandising model as “highly responsive” and promoted the “read-and-react
   14 testing approach” in their pitch to investors.
   15        77. Throughout the Registration Statement, Defendants touted Torrid’s
   16 “[d]ata-[d]riven, [l]ow-[r]isk merchandising [m]odel,” emphasized its importance to
   17 Torrid’s success, and represented that the Company’s strategies were working as
   18 planned:
   19       We employ a data-driven approach to design, merchandising and
   20            inventory planning and allocation to deliver high quality
   21            products . . . . We leverage this robust customer data along with
   22            market trends to inform all purchasing decisions. Through our
   23            vertical sourcing model, we have the flexibility to respond quickly to
   24            the latest sales trends and make adjustments to our current offering
   25            based on customer feedback to deliver product our customer wants.
   26
      3
          Plaintiffs assert that all of the statements set forth below that are bolded and
   27 italicized were materially false and or misleading for the reason set forth therein.
      Non-bolded and non-italicized statements are included for context.
   28
                                                    - 20 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 26 of 91 Page ID #:529




    1            78.        The Registration Statement claimed that as part of the low-risk
    2 merchandising model, the Company’s “read-and-react testing approach” was being
    3 utilized and was “minimizing fashion and inventory risk” among the Company’s
    4 new product offerings, stating:
    5            Further, we utilize a read-and-react testing approach with shallow
    6            initial buys to iterate our New product offering, thus minimizing
    7            fashion and inventory risk. Our merchandising strategy has enabled
    8            us to generate approximately 80% of our net sales from products sold
    9            at regular price, which we define as products sold at initial ticket price
   10            or with a standard marketing promotion (e.g., “Buy One Get One 50%
   11            Off”). We believe our data-driven approach will continue to drive
   12            market growth and market share gains with our rapidly growing and
   13            underserved customer base.
   14            79.        The Registration Statement also told investors that Torrid had:
   15            [A] rigorous discipline around inventory performance by establishing
   16            clear guidelines on in-season product performance, item-level
   17            assortment planning and formal product hindsight reviews. As we
   18            have executed on these [merchandise] strategies, we have seen
   19            substantial growth across all major product categories, as shown in
   20            the graph below, and healthy gross profit margin performance. Our
   21            disciplined planning and product lifecycle management strategies
   22            enable effective in-season inventory management to maximize
   23            inventory turn and productivity. Through these practices, we are able
   24            to limit markdowns, which we define as permanent price reductions,
   25            allowing us to maximize our gross profit margin.
   26            80.        The Registration Statement also called investors’ attention to the
   27 Company’s “Enhanc[ed] Supply Chain Flexibility” as a result of the “speed model”
   28
                                                      - 21 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 27 of 91 Page ID #:530




    1 which purportedly allowed the Company to “accelerate product replenishment
    2 cycles, improve inventory turnover and drive higher margins sales.”
    3            81.        The Registration Statement discussed in detail the potential risks and
    4 harms associated with Torrid’s potential failure to successfully implement its data-
    5 driven merchandise management systems. The items listed merely as “Risk Factors”
    6 in the Registration Statement included the following:
    7            Inventory levels for certain merchandise styles may exceed planned
    8            levels, leading to higher markdowns to sell through excess inventory
    9            and, therefore, lower than planned margins.             Conversely, if we
   10            underestimate consumer demand for our merchandise, or if our
   11            manufacturers fail to supply quality products in a timely manner, we
   12            may experience inventory shortages, which may negatively impact
   13            customer relationships, diminish brand loyalty and result in lost sales.
   14                                            *      *      *
   15            If the distribution facilities servicing our business were to encounter
   16            difficulties . . . we could face shortages of inventory in our stores,
   17            delayed shipments to our e-Commerce customers and harm to our
   18            reputation.
   19            82.        The statements detailed in ¶¶76-81 regarding Torrid’s data-driven, low-
   20 risk merchandising model, were materially false and/or misleading or omitted
   21 material information necessary to make them not misleading based on the following
   22 facts:
   23                       (a)   Beginning in late 2020 and continuing to the time of the IPO and
   24 after, Torrid was experiencing increased merchandise shipment delays – in some
   25 cases up to three months – due to port congestion in Long Beach and Los Angeles,
   26 and factory closures of its Asia-Pacific manufacturers. As CW-1 reported, before
   27 the IPO, inventory flow into the Distribution Center was a constant problem. The
   28 delayed shipments, coupled with not enough human resources at the Distribution
                                                      - 22 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 28 of 91 Page ID #:531




    1 Center to process the inventory as it was eventually delivered, created increasingly
    2 growing customer order backlogs, to the point that millions of customer orders
    3 remained unfulfilled in the months before the IPO. CW-1 confirmed backlogged
    4 orders were taking up to 2 to 3 months to fill.
    5                       (b)   The delayed shipments were also causing Torrid to miss seasonal
    6 launches, such as spring/summer, which created excess inventory that either didn’t
    7 move or could not be sold at full price because it was seasonally stale. As CW-1
    8 reported, when the delayed inventory was eventually processed into the Distribution
    9 Center, it did not sell until promotional activities, including “flash sales,” which
   10 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
   11 to move the inventory.
   12                       (c)   Because of these conditions, the Company had to abandon it’s
   13 low-risk merchandising model and was unable to make data driven merchandise
   14 decisions, perform read-and-react testing on its products, or use its speed model to
   15 reduce product development time in the months leading to the IPO.
   16                       (d)   As a result of the loss of these capabilities, Torrid was purchasing
   17 large quantities of product upfront and exceeding planned merchandise levels, which
   18 left the Company unable to quickly respond to customer demand; and this resulted
   19 in the Company not having the right products on hand to meet consumer demand
   20 and a build-up of excess, stale and obsolete seasonal inventory that was not selling.
   21                       2.    False and Misleading Statements and Omissions
                                  Regarding the Distribution Center
   22
                 83.        The Registration Statement also falsely claimed the Distribution Center
   23
        had sufficient capacity to “handl[e] our existing and future needs” and facilitate
   24
        continued growth:
   25
                 We acquired the operations of the fully-functional, state-of-the-art
   26
                 distribution center in West Jefferson, Ohio in 2018. This 750,000
   27
                 square foot facility is highly automated and we believe is capable of
   28
                                                      - 23 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 29 of 91 Page ID #:532




    1            handling our existing and future needs.            Additionally, the West
    2            Jefferson facility is . . . continuing to drive efficient online returns and
    3            position us to execute on our unified commerce strategy.
    4            84.        The statements detailed in ¶83 regarding Torrid’s Distribution Center,
    5 were materially false and/or misleading or omitted material information necessary
    6 to make them not misleading based on the following facts:
    7                       (a)   At the time of the IPO, the Distribution Center lacked the storage
    8 capacity and human resources to timely process the large volume of incoming
    9 inventory Torrid was receiving in the months leading up to the IPO. As a result of
   10 these constraints, shipments of incoming inventory was not being timely processed
   11 created increasingly growing customer order backlogs, to the point that millions of
   12 customer orders remained unfulfilled in the months before the IPO.                        CW-1
   13 confirmed backlogged orders were taking up to 2 to 3 months to fill.
   14                       3.    False and Misleading Statements and Omissions
                                  Regarding the Company’s Response to and the
   15                             Impact on the Company of the COVID-19 Pandemic
   16            85.        The Roadshow Presentation, on a slide highlighting the Company’s
   17 “accelerating margin profile” and “rapid profitability and earnings growth,” told
   18 investors the Company’s success had showed its “strong resiliency amid the
   19 COVID-19 pandemic.” In a slide dedicated solely to touting the Company’s
   20 response to the pandemic, Defendants stated that Torrid had implemented “key
   21 initiatives” during that time, including developing a “shortened product
   22 development cycle.” Defendants also told investors that the Company’s “agile
   23 response to COVID led to sequential improvement in comp sales growth.”
   24            86.        The Registration Statement acknowledged the past impacts the
   25 COVID-19 pandemic had on Torrid’s sales and supply chain.                      However, the
   26 Registration Statement portrayed Torrid as being effectively out of the woods as
   27 related to any related impacts on its business.               Specifically, the Registration
   28 Statement included the claim that “[i]n response to the COVID-19 pandemic, Torrid
                                                      - 24 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 30 of 91 Page ID #:533




    1 proactively implemented various initiatives with a focus on ensuring the health and
    2 safety of employees and customers, minimizing the financial impact of COVID-19
    3 and continuing to build the foundation for future growth and profitability.”
    4            87.        The Registration Statement also stated that in response to COVID-19
    5 disruptions, Torrid had made changes to its speed model for product development,
    6 telling investors that the Company “[m]ade targeted investments and changes to
    7 our process to improve the speed and flexibility of our supply chain including
    8 shortening our development cycle by two weeks.”
    9            88.        Similarly, the Registration Statement stated that the Company was
   10 taking further steps to reduce promotional activity and drive higher margins, by
   11 “[l]everag[ing] data analytics and insights to tailor marketing and promotional
   12 strategies in response to consumer behavior changes related to the ongoing
   13 COVID-19 pandemic.”
   14            89.        The Registration Statement further represented that investors could
   15 expect declines in earnings as a result of the COVID-19 pandemic to reverse, stating
   16 “[i]n 2020, Adjusted EBITDA declined 24% year-over-year to $101 million driven
   17 by temporarily lower gross profit margin and fixed cost deleverage as a result of
   18 the challenges presented by COVID-19.” According to Defendants, Torrid had
   19 recovered, and “[b]y May 2020, net sales growth began to rebound,” demonstrating
   20 “the strong inherent demand for [the Company’s] differentiated product and the
   21 resiliency of [its] business model.”
   22            90.        The statements detailed in ¶¶85-89 regarding Torrid’s supply chain
   23 enhancements in responses to COVID-19, were materially false and/or misleading
   24 or omitted material information necessary to make them not misleading based on the
   25 following facts:
   26                       (a)   At the time of the IPO Defendants failed to disclose that the
   27 Company had already abandoned its data driven, low-risk merchandising strategy.
   28 Moreover, because of supply chain inconsistencies and increasing manufacture lead
                                                    - 25 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 31 of 91 Page ID #:534




    1 times Torrid was increasing purchase orders of its product to ensure sufficient stock
    2 on-hand, and exceeding planned merchandise levels for certain styles, including
    3 Basic and Core styles, creating a glut of inventory. To rid itself of the excess
    4 inventory the Company was forced to use site-wide and broad-based promotions and
    5 flash sales, rather than a tailored promotional strategy, which negatively impacted
    6 the Company’s revenues, and gross margins.
    7            E.         Omissions Based on Violations of Items 105 and 303 of
                            Regulation S-K
    8
    9            91.        In addition to misstatements and omissions set forth above in ¶¶76-81,
   10 83, 85-89, the Registration Statement was materially false and misleading when
   11 issued because it failed to disclose material information that was required to be
   12 disclosed pursuant to the regulations governing its preparation.
   13       92. Specifically, Item 105 required the Registration Statement to provide
   14 “a discussion of the material factors that make an investment in the registrant or
   15 offering speculative or risky.” 17 C.F.R. §229.105(a). Although the Registration
   16 Statement included a discussion of risk factors, that discussion was materially
   17 incomplete and therefore misleading. In addition, Item 303 required the Registration
   18 Statement to “[d]escribe any known trends or uncertainties that have had or that [the
   19 Company reasonably expects are] likely to have a material favorable or unfavorable
   20 impact on net sales or revenues or income from continuing operations.” 17 C.F.R.
   21 §229.303(b)(2)(ii).
   22            93.        In negligent violation of Item 105 and Item 303, the Registration
   23 Statement failed to disclose the significant problems with Torrid’s supply chain and
   24 inventory management at the time of the IPO, specifically, that: (a) because of
   25 delayed manufacturer shipments, increased manufacturer lead-times and supply
   26 chain inconsistencies, Torrid was unable to make data driven merchandise decisions,
   27 perform read-and-react testing on its products, or use its speed model to reduce
   28 product development time; (b) as a result of the loss of these capabilities, Torrid was
                                                     - 26 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 32 of 91 Page ID #:535




    1 purchasing large quantities of product upfront and exceeding planned merchandise
    2 levels, which left the Company unable to quickly respond to customer demand; and
    3 resulted in the Company not having the right products on hand to meet consumer
    4 demand and a build-up of excess, stale and obsolete seasonal inventory; and (c) the
    5 delayed shipments were also causing Torrid to miss seasonal launches, such as
    6 spring/summer, which also created excess inventory that either didn’t move or could
    7 not be sold at full price because it was seasonally stale. When the delayed inventory
    8 was eventually processed into the Distribution Center, it did not sell until
    9 promotional activities, including “flash sales,” which were limited time sales (e.g.,
   10 24 to 48 hours) at deeply discounted prices, were used to move the inventory.
   11            94.        As result of the foregoing, after the IPO, Torrid’s inventory levels rose
   12 dramatically and gross margins dramatically decreased. The Company’s inventory
   13 management and supply chain issues were known to management, presented
   14 uncertainty, and made investment in Torrid speculative and risky.                       This is
   15 particularly so since Torrid is an apparel company, and as such, having both the right
   16 amount and type of product to meet customer demand is vital to the Company’s
   17 success; failure to do so would, and did, compromise Torrid’s financial performance.
   18            F.         Securities Act Counts
   19                                               COUNT I
   20                                Violations of §11 of the Securities Act
                                           (Against All Defendants)
   21
                 95.        Plaintiffs incorporate ¶¶1-94 as though fully set forth herein. Plaintiffs
   22
        also exclude allegations that could be construed as alleging fraud or intentional
   23
        misconduct, as this Count is based solely on claims of strict liability and/or
   24
        negligence.
   25
                 96.        By reason of the conduct herein alleged, each defendant named in this
   26
        Count violated §11 of the 1933 Act.
   27
   28
                                                       - 27 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 33 of 91 Page ID #:536




    1            97.        For all the reasons set forth above in ¶¶82, 84, 90, the Registration
    2 Statement contained untrue statements of material fact and omitted material facts
    3 necessary to make the statements made therein not false or misleading.
    4            98.        On July 1, 2021, Torrid conducted its IPO pursuant to SEC Form S-1
    5 which Torrid filed publicly with the SEC on June 7, 2021 and, after several
    6 amendments, was declared effective on or about June 30, 2021.
    7            99.        Plaintiffs purchased Torrid common stock pursuant and/or traceable to
    8 the Registration Statement.
    9            100. Torrid is the registrant for the IPO. As issuer of the common stock,
   10 Torrid is strictly liable to Plaintiffs and the Class for the misstatements and
   11 omissions in the Registration Statement.
   12            101. In the exercise of reasonable care, each of the Defendants named herein,
   13 should have known of the misstatements and omissions contained in the Registration
   14 Statement as set forth above at ¶¶76-81, 83, 85-89.
   15            102. Each of the Individual Defendants either signed and/or was involved in
   16 preparing the Registration Statement.
   17            103. None of the Individual Defendants conducted a reasonable
   18 investigation or possessed reasonable grounds to believe that the Registration
   19 Statement did not contain untrue statements of material fact or omit material facts
   20 necessary to make the statements made therein not false or misleading.
   21            104. The Underwriter Defendants served as underwriters of the IPO. The
   22 Underwriter Defendants did not conduct a reasonable investigation or possess
   23 reasonable grounds to believe that the Registration Statement did not contain untrue
   24 statements of material fact or omit material facts necessary to make the statements
   25 made therein not false or misleading.
   26            105. Plaintiffs and the other members of the Class who purchased Torrid
   27 common stock pursuant or traceable to the Registration Statement sustained
   28 substantial damages in connection therewith.
                                                     - 28 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 34 of 91 Page ID #:537




    1            106. Less than one year has elapsed since Plaintiffs discovered or reasonably
    2 could have discovered the facts upon which this complaint is based. Less than three
    3 years have elapsed between the time that the securities upon which this Count is
    4 brought were offered to the public and the time this action was commenced.
    5                                         COUNT II
    6                        Violation of §12(a)(2) of the Securities Act
                                      (Against All Defendants)
    7
                 107. Plaintiffs incorporate ¶¶1-106 as though fully set forth herein.
    8
        Plaintiffs also exclude allegations that could be construed as alleging fraud or
    9
        intentional misconduct, as this Count is based solely on claims of strict liability
   10
        and/or negligence.
   11
                 108. This Count is brought pursuant to §12(a)(2) of the Securities Act, 15
   12
        U.S.C. §771(a)(2), on behalf of all members of the Class who purchased or otherwise
   13
        acquired Torrid common stock in and pursuant to the IPO and who were damaged
   14
        thereby.
   15
                 109. By reason of the conduct alleged herein, the Defendants violated
   16
        §12(a)(2) of the Securities Act. The Registration Statement, and the Prospectus
   17
        incorporated therein, and oral communications made by Defendants in connection
   18
        with the IPO contained untrue statements of material fact, and omitted material facts
   19
        necessary to make the statements made therein not misleading as detailed above at
   20
        ¶¶76-90.
   21
                 110. Each of the Defendants offered or sold Torrid common stock by means
   22
        of the Registration Statement and the Prospectus incorporated therein.
   23
                 111. Plaintiffs did not know, nor in the exercise of reasonable diligence
   24
        could have known, of the untruths and omissions contained in the Registration
   25
        Statement and the Prospectus incorporated therein at the time it acquired the
   26
        Company’s shares.
   27
   28
                                                 - 29 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 35 of 91 Page ID #:538




    1            112. Class members who hold such common stock have the right to rescind
    2 and recover the consideration paid for their shares, and hereby tender their shares to
    3 the Defendants named herein. Class members who have sold their shares of common
    4 stock seek damages to the extent permitted by law.
    5                                        COUNT III
    6                              Violations of §15 of the 1933 Act
                    (Against the Individual Defendants and Sycamore Defendants)
    7
                 113. Plaintiffs incorporate ¶¶1-112 as though fully set forth herein.
    8
        Plaintiffs also exclude allegations that could be construed as alleging fraud or
    9
        intentional misconduct, as this Count is based solely on claims of strict liability
   10
        and/or negligence.
   11
                 114. By reason of the conduct alleged herein, the Individual Defendants and
   12
        the Sycamore Defendants violated §15 of the Securities Act. Each of the Individual
   13
        Defendants and Sycamore was a control person of Torrid by virtue of his or her
   14
        position as an owner, director and/or senior officer of Torrid.
   15
                 115. The Individual Defendants and the Sycamore Defendants each had a
   16
        series of direct and/or indirect business and/or personal relationships with other
   17
        directors and/or officers and/or were major shareholders of Torrid.
   18
                 116. As detailed in ¶29, Sycamore is Torrid’s largest shareholder and
   19
        controlled Torrid at the time of the IPO. Sycamore possessed control over Torrid
   20
        and the Individual Defendants by and through its holdings in Torrid common stock,
   21
        which Sycamore held through the Sycamore Entities. The Sycamore Defendants
   22
        individually and collectively possessed control over Torrid and the Individual
   23
        Defendants.
   24
                 117. Each of the Individual Defendants and Sycamore Defendants was a
   25
        participant in the violations of §§11 and 12(a)(2) of the 1933 Act alleged in the
   26
        Counts above, based on their having signed or authorized the signing of the
   27
   28
                                                - 30 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 36 of 91 Page ID #:539




    1 Registration Statement and having otherwise participated in the process by which
    2 the IPO was completed.
    3 IV.        EXCHANGE ACT CLAIMS
    4            A.         The Exchange Act Parties
    5
                            1.   Exchange Act Plaintiffs
    6
                 118. Lead Plaintiff City of Warren Police and Fire Retirement System is a
    7
        public pension fund in Warren, Michigan, managed by a board of elected and
    8
        appointed officials, comprising pension and retirement plans for the benefit of the
    9
        personnel of the Police and Fire Departments of Warren, Michigan, and for the
   10
        widows and children of such members. Lead Plaintiff has approximately $275
   11
        million in assets under management and hundreds of plan participants. Lead
   12
        Plaintiff, as set forth in its certification previously filed with the Court, incorporated
   13
        by reference herein, purchased or otherwise acquired Torrid common stock during
   14
        the Class Period, at artificially inflated prices and was damaged thereby. ECF 15-2.
   15
                 119. Plaintiff Erika Schroth, as set forth in the attached certification,
   16
        incorporated by reference herein, purchased or otherwise acquired Torrid common
   17
        stock during the Class Period at artificially inflated prices and was damaged thereby.
   18
                            2.   Exchange Act Defendants
   19
                 120. Defendant Torrid is a direct-to-consumer brand of women’s plus-size
   20
        apparel and intimates. Torrid’s common stock trades on the NYSE under the ticker
   21
        symbol “CURV.” As of March 22, 2023, the Company had more than 103 million
   22
        shares of common stock issued and outstanding.
   23
                 121. Defendant Muñoz was the CEO, President, and a director of Torrid at
   24
        the time of the IPO and during the Class Period until May 2022, when Torrid
   25
        announced that Muñoz had resigned as CEO and from the Board.
   26
                 122. Defendant Wehlitz was Torrid’s CFO at the time of the IPO and during
   27
        the Class Period until Wehlitz retired, effective May 2022.
   28
                                                   - 31 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 37 of 91 Page ID #:540




    1            123. Defendant Kaluzny was a director of Torrid at the time of the IPO.
    2 Defendant Kaluzny is a co-founder and a Managing Director of defendant Sycamore.
    3            124. Defendant Kopelioff was a director of Torrid at the time of the IPO.
    4 Defendant Kopelioff is a Managing Director of defendant Sycamore.
    5            125. Defendant Harper was a director of Torrid at the time of the IPO and
    6 became Torrid’s CEO in May 2022, holding that role during the Class Period,
    7 following defendant Muñoz’s transition to a different role at the Company.
    8            126. Defendant Sycamore Partners Management, L.P. is a private equity
    9 firm based in New York, specializing in retail, distribution, and consumer
   10 investments
   11            127. The defendants referenced above in ¶¶121-125 are collectively referred
   12 to herein as the “Individual Exchange Act Defendants.”
   13            128. Torrid, the Individual Exchange Act Defendants, and Sycamore are
   14 referred to herein, collectively, as “Defendants” or the “Exchange Act Defendants.”
   15            B.         Defendants’ False and Misleading Statements and
                            Omissions During the Class Period
   16
   17                       1.   Torrid’s IPO Registration Statement

   18            129. Plaintiffs incorporate by reference all of the allegations contained
   19 above in ¶¶1-128, as each of the statements and omissions that rendered the
   20 Registration Statement and Torrid’s IPO Roadshow Presentation materially false
   21 and misleading also give rise to liability under the Exchange Act against the
   22 Exchange Act Defendants. Each of the statements and omissions described were
   23 knowingly or recklessly false and misleading when made by the Defendants as set
   24 forth in ¶¶82, 84, 90.
   25            130. As set forth below, following the IPO, Defendants continued to mislead
   26 investors about the Company’s inventory and supply chain issues. Plaintiffs assert
   27 that all statements set forth below that are bolded and italicized were materially false
   28
                                                   - 32 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 38 of 91 Page ID #:541




    1 and or misleading for the reasons set forth therein. Non-bolded and non-italicized
    2 statements are included for context.
    3                       2.   2Q 2021 Form 10-Q and Earnings Call
    4            131. On September 8, 2021, after the market closed, Torrid announced its
    5 2Q 2021 results on SEC Form 10-Q signed by defendants Muñoz and Wehlitz.
    6            132. In the 2Q 2021 SEC Form 10-Q, Defendants continued to tout the
    7 Company’s data driven, low-risk merchandise model, stating in relevant portion:
    8            Our strategy is built around a consistent and stable base of core
    9            products that provide our customer with year round style. At the same
   10            time, we introduce new lines of merchandise approximately 16 times
   11            per year, thus providing a consistent flow of fresh merchandise to keep
   12            our customer engaged, encourage repeat business and attract new
   13            customers. We employ a data-driven approach to design and product
   14            development, proactively and quickly incorporating sales and
   15            operational performance information alongside customer feedback
   16            from thousands of product reviews.
   17            133. On the same day Defendants hosted an investor conference call to
   18 discuss the Company’s 2Q 2021 results (“2Q 2021 Earnings Call”).
   19            134. The 2Q 2021 Earnings Call was Torrid’s first earnings call as a publicly
   20 traded company. During the 2Q 2021 Earnings Call, Defendants reported strong 2Q
   21 2021 financial results and better than expected sales and adjusted EBITDA guidance
   22 for 3Q 2021 and FY 2021, signaling to investors a continuation of the growth
   23 momentum Torrid experienced in the first half of 2021 into the second half of 2021,
   24 despite supply chain challenges the retail industry was facing.
   25            135. During the 2Q 2021 Earnings Call Wehlitz reported that Torrid’s gross
   26 margins for 2Q 2021 had increased from the prior year due to less mark-downs in
   27 the quarter, stating:
   28
                                                 - 33 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 39 of 91 Page ID #:542




    1                       Gross profit in the second quarter was $150 million or 45% of
    2            net sales compared to $80 million or 32.1% of net sales in the second
    3            quarter of 2020 and $103 million or 39.8% of net sales in the second
    4            quarter of 2019. This nearly 1,300 basis point expansion in our gross
    5            profit rate from the prior year was primarily due to an improved product
    6            margin resulting from less discounting during the quarter as compared
    7            to the prior year. Our gross profit also benefited from leveraging
    8            distribution expenses, store occupancy costs and store depreciation
    9            expenses.
   10            136. With regard to the Company’s guidance for 3Q 2021 and FY 2021,
   11 Wehlitz also told investors that:
   12                       For the third quarter, we expect net sales to be between $305
   13            million to $350 million and adjusted EBITDA to be between $47
   14            million and $52 million. Our guidance assumes more modest gross
   15            margin expansion than we delivered in the second quarter, reflecting
   16            current trends as well as anticipated impact of supply chain
   17            challenges. . . .
   18                       For fiscal 2021, we expect net sales between $1.29 billion to
   19            $1.3 billion and adjusted EBITDA between $248 million and $258
   20            million. This assumes gross margin pressures in the back half of the
   21            year from the supply chain challenges, as I previously referred to.
   22            137. While Company guidance assumed gross margin pressures in the
   23 second half of 2021, analysts following the Company still viewed this guidance as
   24 better than expected. For example, analysts Telsey Advisory Group wrote on
   25 September 9, 2021 that Torrid had given investors “Better-Than-Expected FY2021
   26 Guide,” and commented that the Company’s “[t]hird quarter guidance [was] above
   27 expectations.” Analysts from BofA Securities stated: “Select price increases should
   28 offset supply chain costs.” Jefferies analysts called the guidance “robust,” adding,
                                                    - 34 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 40 of 91 Page ID #:543




    1 “the [Company] was able to guide well-ahead of cons[ervative]/previous plan.”
    2 Analysts from William Blair echoed this sentiment, writing that Torrid’s third
    3 quarter guidance was “7% ahead of the consensus estimate.”
    4            138. During the 2Q 2021 Earnings Call Muñoz reiterated that Torrid’s data
    5 driven, low risk merchandising model was continuing to allow the Company to
    6 quickly respond to customer demand and still remained an effective strategy for
    7 growing the business and maintaining gross margins, stating:
    8            [O]ur data-driven low-risk merchandising model helps us provide a
    9            broad assortment of proprietary products with a distinct style, and we
   10            provide them when and where she wants them. Our flexible operating
   11            model allows us to quickly read and react to our customers’
   12            preferences and to consistently meet her needs for great-fitting quality
   13            product at a tremendous value.         Our close relationships with our
   14            customers provide us with constant valuable feedback that we deploy
   15            to continually provide her with the things she needs and wants.
   16                       We further leverage this feedback and our extensive fit
   17            capabilities to expand into categories that drive high loyalty, such as
   18            blue jeans, bras, swim and shoes.             The effectiveness of our
   19            merchandising strategy is illustrated by our ability to grow our
   20            business across all of our categories year after year as well as by our
   21            consistently high penetration of regular-priced sell-throughs at over
   22            80% of our total sales and also supported by our wildly low 9% return
   23            rate.
   24            139. The statements detailed in ¶¶131-136, 138 were materially false and/or
   25 misleading or omitted material information necessary to make them not misleading
   26 based on the following facts:
   27                       (a)   Defendants failed to disclose that prior to the IPO, Torrid was
   28 forced to abandoned its data driven, low risk merchandising model because it was
                                                     - 35 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 41 of 91 Page ID #:544




    1 suffering from supply chain inconsistencies, inventory shipment delays, increasing
    2 manufacturer lead times, and that because of these conditions, Torrid was unable to
    3 make data driven merchandise decisions, perform read-and-react testing on its
    4 products, or use its speed model to reduce product development during the Class
    5 Period.
    6                       (b)   As a result of the loss of these capabilities, during the Class
    7 Period Torrid was purchasing large quantities of product upfront and exceeding
    8 planned merchandise levels, which left the Company unable to quickly respond to
    9 customer demand; and this resulted in the Company not having the right products on
   10 hand to meet consumer demand and a build-up of excess, stale and obsolete seasonal
   11 inventory.
   12                       (c)   As CW-2 confirms, delayed inventory shipments continued to
   13 increase Torrid’s inventory levels following the IPO, almost doubling them and that
   14 the Distribution Center lacked sufficient capacity and staffing to handle these
   15 inventory increases.            CW-2 confirmed that during the Class Period, as the
   16 Distribution Center was overflowing with inventory, trailers full of un-received
   17 inventory sat in the Distribution Center parking lot. These trailers would remain
   18 un-received for weeks, and in some cases not formally received in the Distribution
   19 Center until the following quarter. As CW-2 reported, inventory was not formally
   20 received until it was unloaded, physically brought into the Distribution Center, and
   21 scanned into Torrid’s systems. CW-2 confirmed that the Distribution Center’s lack
   22 of capacity and staffing prevented the Company from getting ready for new product
   23 launches being able to receive new seasonal inventory.
   24                       (d)   The delayed shipments were also causing Torrid to miss seasonal
   25 launches during the Class Period, which created excess inventory that either didn’t
   26 move or could not be sold at full price because it was seasonally stale. As CW-1
   27 reported, when the delayed inventory was eventually processed into the Distribution
   28 Center, it did not sell until promotional activities, including “flash sales,” which
                                                     - 36 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 42 of 91 Page ID #:545




    1 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
    2 to move the inventory.
    3            C.         The Truth Is Revealed over Several Partially Corrective
                            Disclosures, While Defendants Continue to Mislead
    4                       Investors
    5                       1.   3Q 2021 Form 10-Q and Earnings Call
    6            140. On December 8, 2021, after the market closed, Torrid announced its 3Q
    7 2021 results on SEC Form 10-Q signed by defendants Muñoz and Wehlitz.
    8            141. The SEC Form 10-Q, echoed the Company’s prior filing as to Torrid’s
    9 proprietary inventory management systems, repeating verbatim the 2Q 2021 SEC
   10 Form 10-Q:
   11            Our strategy is built around a base of core products that provide our
   12            customer with year round style. At the same time, we introduce new
   13            lines of merchandise approximately 16 times per year, thus providing
   14            a consistent flow of fresh merchandise to keep our customer engaged,
   15            encourage repeat business and attract new customers. We employ a
   16            data-driven approach to design and product development, proactively
   17            and quickly incorporating sales and operational performance
   18            information alongside customer feedback from thousands of product
   19            reviews. We engage in ongoing dialogue with customers through social
   20            media and customer surveys. Shifts in inventory levels may result in
   21            fluctuations in the amount of regular price sales, markdowns, and
   22            merchandise mix, as well as gross margin.
   23            142. On the same day, Defendants hosted an investor conference call to
   24 discuss the Company’s 3Q 2021 results (“3Q 2021 Earnings Call”). During the 3Q
   25 2021 Earnings Call Defendants’ reported better-than-expected 3Q 2021 EPS, with
   26 Wehlitz confirming that 3Q margins were “primarily driven by reduced
   27 promotional activity and pricing initiatives.” Wehlitz also disclosed that 3Q sales
   28 came in at the low end of guidance due to inventory delays. Defendants also
                                                    - 37 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 43 of 91 Page ID #:546




    1 disclosed that the Company was narrowing its 4Q 2021 and FY 2021 guidance due
    2 to inflation headwinds (including air freight) and continued inventory delays in 4Q.
    3            143. During the 3Q 2021 Earnings Call Defendants continued to make
    4 materially false and misleading statements and omissions that served to buffer the
    5 impact of Torrid’s mixed 3Q 2021 results and maintained the artificial inflation in
    6 the price of Torrid’s stock. Specifically, during the call, Defendants lead investors
    7 to believe the Company was: (i) still using its low-risk merchandising model to
    8 manage inventory risk; (ii) taking proactive measures to mitigate supply chain
    9 pressures that would benefit the Company in the upcoming quarters; (iii) using
   10 promotions strategically in 4Q and not as a means to rid the Company of excess or
   11 non-moving inventory; and (iv) that Defendants were very comfortable with the
   12 Company’s inventory levels.
   13            144. On the 3Q 2021 Earnings Call, Muñoz assured investors that Torrid
   14 was successfully navigating the industry supply chain challenges with its “powerful
   15 and nimble operating model” of which the Company’s low-risk merchandising
   16 model was a key component. Muñoz, however, again failed to disclose that Torrid
   17 had already abandoned that model, and as a result Torrid had placed orders that
   18 exceeded demand, resulting in a glut of inventory that would have to cleared out
   19 through deep promotions and discounts. Muñoz also eased investor concerns by
   20 stating:
   21            We have strong long-term vendor relationships and a diversified
   22            manufacturing base, and we are working closely with our partners to
   23            mitigate the current challenges. Our priority is getting our products
   24            into the U.S. and specifically into our customers’ hands in addition to
   25            managing the costs associated with these deliveries. As always, we
   26            are focused on delivering for our customer and meeting her needs
   27            despite the current operating environment. While we expect supply
   28            chain headwinds to continue at least into the first half of 2022, we are
                                                  - 38 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 44 of 91 Page ID #:547




    1            successfully navigating the current environment and our underlying
    2            operating model remains strong.
    3            145. On the 3Q 2021 Earnings Call Wehlitz also assured investors they were
    4 taking aggressive steps to mitigate supply chain pressures, stating:
    5                       We are closely monitoring the situation and continuing to take
    6            proactive measures to mitigate the impact, including selectively air
    7            freighting goods and placing orders earlier as well as offsetting some
    8            of the associated cost pressures by consolidating fabric orders and
    9            selectively increasing prices. While we are taking proactive measures
   10            to manage our supply chain, many of these initiatives will not begin
   11            to benefit until starting early next year.
   12            146. During the 3Q 2021 Earnings Call, Defendants also eased investor
   13 concerns about the reasons for higher promotional activity in 4Q 2021. In response
   14 to analyst questions about what the level and type of promotional activity investors
   15 could expect from Torrid in 4Q 2021, both Wehlitz and Muñoz told investors that
   16 Torrid’s increased 4Q promotional activity was “very strategic” due to events such
   17 as Black Friday and Cyber Monday and used as a “customer engagement tool,”
   18 assuring analysts that the promotional activity was not to clear excess or non-moving
   19 inventory. On the call defendants stated:
   20            [Wehlitz:] In Q4 specifically, in general for Q4, the promotional
   21            activity is higher. Again, we don’t necessarily play the same seasonal
   22            issues that other retailers have but we do have to play in the arena of
   23            Black Friday and Cyber Monday events. That promotional activity is
   24            typically deeper, and that does bring down the – that increase the
   25            promotional rate for that quarter compared to other quarters. But it’s
   26            not a new anomaly for us as we’re having to play with the bigger and
   27            broader macro issues there. And then from a promotional standpoint,
   28            in general, we do use it, as we’ve said, more of a customer engagement
                                                     - 39 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 45 of 91 Page ID #:548




    1            tool and really trying to keep her engaged along the way in that journey
    2            of what we’re doing. So Liz, will you add to that?
    3                                           *     *      *
    4            [Wehlitz:] [R]elated to the promotions a bit for Q4. So yes, we’ll
    5            selectively look at the promotions related to truly seasonal goods. But
    6            I think we’re very happy with our – as we’re getting our inventory and
    7            how we’re positioning ourselves as we go into Q1, and being very
    8            strategic about how we’re doing promotions to try to make sure that
    9            we’re mitigating as much as that product as possible that might have
   10            a shorter shelf life as far as seasonal goods.
   11                                           *     *      *
   12            [Muñoz:] I think it’s just important to get that point across, and
   13            George made it that we use promotions in a different way. We don’t
   14            necessarily use promotions to drive product that’s not working or
   15            things like that. We use them as an engagement tool.
   16            147. During the 3Q 2021 Earnings Call, Wehlitz also assured investors that
   17 Defendants had adequate inventory levels going into 4Q 2021, stating:
   18                       Inventory at the end of the quarter was $159 million compared
   19            to $124 million last year and $140 million in the third quarter of 2019.
   20            Excluding in-transit levels, our inventory was slightly down from
   21            prior year.       Although our available inventory is modestly below
   22            optimal levels, we took measures to air freight and feel very
   23            comfortable with the adequate inventory levels to meet the consumer
   24            demand that is reflected in our fourth quarter forecast.
   25            148. Defendants’ statements detailed in ¶¶141-142, 144-147 were materially
   26 false and/or misleading or omitted material information necessary to make them not
   27 misleading based on the following facts:
   28
                                                    - 40 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 46 of 91 Page ID #:549




    1                       (a)   Defendants failed to disclose that prior to the IPO, Torrid was
    2 forced to abandoned its data driven, low risk merchandising model because it was
    3 suffering from supply chain inconsistencies, inventory shipment delays, increasing
    4 manufacturer lead times, and that because of these conditions, Torrid was unable to
    5 make data driven merchandise decisions, perform read-and-react testing on its
    6 products, or use its speed model to reduce product development during the Class
    7 Period.
    8                       (b)   As a result of the loss of these capabilities, during the Class
    9 Period Torrid was purchasing large quantities of product upfront and exceeding
   10 planned merchandise levels, which left the Company unable to quickly respond to
   11 customer demand; and this resulted in the Company not having the right products on
   12 hand to meet consumer demand and a build-up of excess, stale and obsolete seasonal
   13 inventory.
   14                       (c)   As CW-2 confirms, delayed inventory shipments continued to
   15 increase Torrid’s inventory levels following the IPO, almost doubling them and that
   16 the Distribution Center lacked sufficient capacity and staffing to handle these
   17 inventory increases.            CW-2 confirmed that during the Class Period, as the
   18 Distribution Center was overflowing with inventory, trailers full of un-received
   19 inventory sat in the Distribution Center parking lot. These trailers would remain
   20 un-received for weeks, and in some cases not formally received in the Distribution
   21 Center until the following quarter. As CW-2 reported, inventory was not formally
   22 received until it was unloaded, physically brought into the Distribution Center, and
   23 scanned into Torrid’s systems. CW-2 confirmed that the Distribution Center’s lack
   24 of capacity and staffing prevented the Company from getting ready for new product
   25 launches being able to receive new seasonal inventory.
   26                       (d)   The delayed shipments were also causing Torrid to miss seasonal
   27 launches during the Class Period, which created excess inventory that either didn’t
   28 move or could not be sold at full price because it was seasonally stale. As CW-1
                                                     - 41 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 47 of 91 Page ID #:550




    1 reported, when the delayed inventory was eventually processed into the Distribution
    2 Center, it did not sell until promotional activities, including “flash sales,” which
    3 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
    4 to move the inventory.
    5                       2.    January 10, 2022 Press Release
    6            149. On January 10, 2022, Torrid issued a press release lowering 4Q 2021
    7 and FY 2021 guidance due to labor challenges at its Distribution Center and retail
    8 stores due to Omicron. The press release was also filed on a SEC Form 8-K on
    9 January 12, 2022 and signed by defendant Wehlitz.
   10            150. The reduced guidance given by Defendants in the January 10, 2022
   11 press release was materially false and misleading, and had no reasonable basis, given
   12 the undisclosed inventory management and supply chain issues described above in
   13 ¶¶139-148.
   14                       3.    March 17, 2022 Earnings Call and FY 2021 SEC
                                  Form 10-K
   15
                 151. On March 17, 2022, after the market closed, Defendants hosted an
   16
        investor conference call to discuss the Company’s 4Q 2021 financial results (“4Q
   17
        2021 Earnings Call”).
   18
                 152. On the 4Q 2021 Earnings Call, Defendants reported 4Q results that
   19
        were better than the lowered guidance given on January 10, 2021 and better-than-
   20
        expected guidance for FY 2022.             Defendants reported that 4Q gross margins
   21
        declined in the quarter due to elevated freight and product costs, offset by higher
   22
        pricing and lower promotion activity.
   23
                 153. Muñoz started the 4Q 2021 Earnings Call by telling investors:
   24
                            Starting with our 2021 performance, net sales grew 31% versus
   25
                 2020 and 23% versus 2019. Adjusted EBITDA increased by 144%
   26
                 over last year and 86% versus 2019, and adjusted EBITDA margin
   27
                 reached 19%. Importantly, we achieved these results in the face of
   28
                                                    - 42 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 48 of 91 Page ID #:551




    1            pervasive supply chain challenges and cost pressures, demonstrating
    2            the strength of our brand and strong execution against our growth
    3            strategies.
    4            154. Concerned about macro COVID-related supply chain issues and
    5 potential increased promotional activity due to shipping delays, on the 4Q 2021
    6 Earnings Call, analysts continued to ask Defendants about the “promotional
    7 environment” Defendants were seeing. Both Muñoz and Wehlitz again assured
    8 investors that promotional activity was being used strategically as a customer
    9 engagement tool and that promotional activity in FY 2022 was expected to
   10 normalize:
   11                       [Muñoz:] As far as the promotional activity, we see promotional
   12            activity to be similar to ‘21. And we are focused on the promotional
   13            events that we know are part of our DNA, and they form a bond with
   14            our customer. They drive engagement. And I will tell you that a lot
   15            of these promotional events are also really good new customer
   16            acquisition tools. So things like Torrid Cash and the Love Your Bra
   17            event will continue. And then we use incentives to get customers in
   18            the categories we really want them to be in because they are very
   19            sticky like bras and blue jeans, and we’ve seen success in that. So I
   20            think it’s going to continue as it’s been, and we will adjust and
   21            address as it comes at us.
   22                       [Wehlitz:] And then as a follow-up to what Liz said, yes, looking
   23            at ‘22 to be more of a normalized year related to that. But if you’re
   24            looking compared to 2021, remember that the first half of the year,
   25            we were much more impacted by the stimulus and the pent-up
   26            demand. And there was less promotional activity going on because of
   27            what she was spending and she had available to spend. So it will be
   28
                                                      - 43 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 49 of 91 Page ID #:552




    1            more of a normalized [year related to] that as we look more towards
    2            pre-COVID levels.
    3            155. Defendants also assured investors that the Company was taking steps
    4 to mitigate supply challenges by forming a “speed” committee to analyze Torrid’s
    5 production cycle to reduce lead times and increase efficiency. On the call, Muñoz
    6 stated:
    7            We are also addressing supply chain challenges, which we expect to
    8            persist into 2022 by managing areas that are within our control. As part
    9            of these efforts, we have formed a speed committee, where we are
   10            analyzing our full production cycle in order to reduce lead times and
   11            increase efficiency.
   12            156. On the 4Q 2021 Earnings Call Wehlitz assured the market that
   13 Defendants were comfortable with Torrid’s inventory levels and the Company was
   14 taking aggressive steps to address supply chain issues:
   15                       We feel comfortable with both our current inventory position
   16            and the flow of shipments as we continue to take proactive measures
   17            to mitigate the impact of shipping delays and higher transportation
   18            costs. We are placing orders earlier, consolidating fabric orders to
   19            get low pricing and selectively taking price increases.        We are
   20            confident in our ability to continue to navigate the supply chain
   21            challenges facing us in our industry.
   22            157. In response to follow-up questions from analysts about Torrid’s
   23 increased inventory levels compared to sales and how the market should view this
   24 information, Wehlitz responded:
   25            So from a comparison with – at the end of the year 2021 compared to
   26            2019, our inventory in total was up. But if you look at it from – and
   27            excluding in-transit, because, again, with this delay related to the
   28            supply chain and the transit times, it has increased what we have in-
                                                    - 44 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 50 of 91 Page ID #:553




    1            transit in the water, not in our buildings. You exclude that, we were
    2            up 12% compared to ‘19. So very in line with what we’re looking at
    3            from a sales perspective.
    4                       We feel very good about what we have in inventory. We feel
    5            good about the composition of what we have in the inventory. And
    6            we feel good about what’s coming in as well as what we factored in,
    7            again, as Liz said, timing-wise, trying to place orders earlier to get the
    8            product in. So I think from an inventory perspective, we have the
    9            inventory to be able to support higher sales than we have put into the
   10            guidance. And I think from an inventory perspective, as we look
   11            throughout the year, I think we’re going to – we would definitely be
   12            higher than we were in ‘19. But again, it will be moderated to what we
   13            think we can have from an investment standpoint of what’s keeping
   14            ourselves current and in line with our expectations of where we’re
   15            going to be to be able to support from a sales perspective.
   16            158. On March 30, 2022, after the market closed, Torrid filed with the SEC
   17 its annual report on Form 10-K for the fiscal year ended January 29, 2022 (“FY 2021
   18 10-K”). Defendants Muñoz and Wehlitz both signed the FY 2021 10-K.
   19            159. The FY 2021 10-K, highlighted the Company’s merchandize and
   20 inventory management systems, including its “read-and-react” and “shallow buy”
   21 approach:
   22            Our trend driven items incorporate the latest fashions available in the
   23            broader market to excite and engage our customer but are bought
   24            narrowly and reordered as demand dictates to minimize inventory risk.
   25                                           *     *      *
   26                       Our strategy is built around a consistent and stable base of
   27            Core products that provide our customer with year round style. At the
   28            same time, we introduce new lines of merchandise approximately 16
                                                    - 45 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 51 of 91 Page ID #:554




    1            times per year, thus providing a consistent flow of fresh merchandise
    2            to keep our customer engaged, encourage repeat business and attract
    3            new customers.
    4                       We regularly use the depth and breadth of our data to assess
    5            sales, market trends and new product development to inform
    6            purchasing decisions. As a result, we have the flexibility to react
    7            quickly to product performance, make in-season inventory
    8            purchasing adjustments where possible and to respond to the latest
    9            sales trends by ordering or re-ordering as appropriate. Further, we
   10            utilize a read-and-react testing approach, with small purchase
   11            quantities, to introduce our New product offering, minimizing
   12            fashion risk. This strategy also allows us to mitigate inventory risk,
   13            particularly for new products or styles, while simultaneously
   14            providing our customers access to current fashion.
   15            160. The FY 2021 10-K also promoted the Company’s Distribution Center,
   16 repeating claims from the Registration Statement about its capacity and ability to
   17 facilitate Torrid’s existing and future demands:
   18                       Our unified commerce business model is serviced by our
   19            distribution facility located in West Jefferson, Ohio. We acquired the
   20            operations of the fully-functional, state-of-the-art distribution center
   21            in West Jefferson, Ohio in 2018. This 750,000 square foot facility is
   22            highly automated and we believe is capable of handling our existing
   23            and future needs. Additionally, the West Jefferson facility is already
   24            equipped with omni-channel capabilities that have enabled our buy-
   25            online-pickup-in-store (“BOPIS”) rollout while continuing to drive
   26            efficient online returns and position us to execute on our unified
   27            commerce strategy. During 2020 we also accelerated our omni-channel
   28            offerings such as ship from store and curbside pickup, which when
                                                    - 46 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 52 of 91 Page ID #:555




    1            combined with BOPIS will continue to drive both customer acquisition
    2            and retention.
    3                       Our distribution center manages the transportation, receipt,
    4            storage, sorting, packing and distribution of merchandise for our e-
    5            Commerce platform and store channels. Stores are replenished at least
    6            once per week from these facilities by third-party delivery services.
    7            This frequency provides our stores a steady flow of new inventory that
    8            helps maintain product freshness and in-stock availability.
    9            161. Defendants’ statements alleged in ¶¶153-157, 159-160 were materially
   10 false and/or misleading or omitted material information necessary to make them not
   11 misleading based on the following facts:
   12                       (a)   Defendants failed to disclose that prior to the IPO, Torrid was
   13 forced to abandoned its data driven, low risk merchandising model because it was
   14 suffering from supply chain inconsistencies, inventory shipment delays, increasing
   15 manufacturer lead times, and that because of these conditions, Torrid was unable to
   16 make data driven merchandise decisions, perform read-and-react testing on its
   17 products, or use its speed model to reduce product development during the Class
   18 Period.
   19                       (b)   As a result of the loss of these capabilities, during the Class
   20 Period Torrid was purchasing large quantities of product upfront and exceeding
   21 planned merchandise levels, which left the Company unable to quickly respond to
   22 customer demand; and this resulted in the Company not having the right products on
   23 hand to meet consumer demand and a build-up of excess, stale and obsolete seasonal
   24 inventory.
   25                       (c)   As CW-2 confirms, delayed inventory shipments continued to
   26 increase Torrid’s inventory levels following the IPO, almost doubling them and that
   27 the Distribution Center lacked sufficient capacity and staffing to handle these
   28 inventory increases.            CW-2 confirmed that during the Class Period, as the
                                                     - 47 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 53 of 91 Page ID #:556




    1 Distribution Center was overflowing with inventory, trailers full of un-received
    2 inventory sat in the Distribution Center parking lot. These trailers would remain
    3 un-received for weeks, and in some cases not formally received in the Distribution
    4 Center until the following quarter. As CW-2 reported, inventory was not formally
    5 received until it was unloaded, physically brought into the Distribution Center, and
    6 scanned into Torrid’s systems. CW-2 confirmed that the Distribution Center’s lack
    7 of capacity and staffing prevented the Company from getting ready for new product
    8 launches being able to receive new seasonal inventory.
    9                       (d)   The delayed shipments were also causing Torrid to miss seasonal
   10 launches during the Class Period, which created excess inventory that either didn’t
   11 move or could not be sold at full price because it was seasonally stale. As CW-1
   12 reported, when the delayed inventory was eventually processed into the Distribution
   13 Center, it did not sell until promotional activities, including “flash sales,” which
   14 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
   15 to move the inventory.
   16                       4.    1Q 2022 SEC Form 10-Q and Earnings Call
   17            162. On June 7, 2022, after the market closed, Torrid announced its 1Q 2022
   18 results on SEC Form 10-Q signed by defendant Harper.
   19            163. In the SEC Form 10-Q the Company continued to represent that its
   20 inventory management systems provided Torrid with a competitive edge:
   21            Our strategy is built around a base of core products that provide our
   22            customer with year round style. At the same time, we introduce new
   23            lines of merchandise approximately 16 times per year, thus providing
   24            a consistent flow of fresh merchandise to keep our customer engaged,
   25            encourage repeat business and attract new customers. We employ a
   26            data-driven approach to design and product development, proactively
   27            and quickly incorporating sales and operational performance
   28            information alongside customer feedback from thousands of product
                                                     - 48 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 54 of 91 Page ID #:557




    1            reviews. We engage in ongoing dialogue with customers through social
    2            media and customer surveys.
    3            164. On the same day Defendants hosted an investor conference call to
    4 discuss the Company’s 1Q 2022 financial results (“1Q 2022 Earnings Call”). On
    5 the 1Q 2022 Earnings Call, the first call hosted by newly appointed defendant
    6 Harper, Defendants reported that the Company exceeded 1Q sales and adjusted
    7 EBITDA guidance.
    8            165. On the call Defendants gave disappointing 2Q 2022 guidance, stating
    9 that 2Q “outlook assumes our gross margin rate will be below Q1 as we clear through
   10 inventory heading into the back half of the year.” Defendants, however, continued
   11 to make materially false and misleading statements and omissions that served to
   12 maintain the artificial inflation in Torrid’s stock price, by reiterating the FY 2022
   13 guidance given previously on the 4Q 2021 Earnings Call, telling investors gross
   14 margins would improve in the second half of 2022 due in part to a more “surgical”
   15 approach to promotional activity that would improve gross margins, and that
   16 Defendants were comfortable with Torrid’s inventory position going into 3Q to 4Q
   17 2022.
   18            166. On the 1Q 2022 Earnings Call, interim CFO Tanner MacDiarmid
   19 (“MacDiarmid”) confirmed FY 2022 guidance stating:
   20            For the full year, we are maintaining our full year sales guidance of
   21            between $1.3 billion and $1.365 billion. As Lisa stated, we are focused
   22            on creating a better balance of sales and margin in the business that is
   23            expected to moderate sales growth in the back half, while driving
   24            improvements in margin.
   25            167. On the 1Q 2022 Earnings Call, Harper admitted that the Company had
   26 not been using promotions strategically as the Registration Statement had previously
   27 represented, stating:
   28
                                                  - 49 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 55 of 91 Page ID #:558




    1                       In the past, our promotions have been largely broad-based
    2            offers to all customers and across categories, which was anchored
    3            heavily on percentage discount. Going forward, we plan to take a
    4            more surgical approach to promotions by closely aligning them with
    5            our merchandising and marketing strategies and our inventory
    6            investment. It will take time to refine these strategies, and we will
    7            maintain site-wise promotions in the near term while we test and react
    8            into more targeted promotions.
    9            168. While Defendants reported 1Q 2022 inventory was up 51% compared
   10 to 2019 levels, with 30% sales growth, during the 1Q 2022 Earnings Call,
   11 Defendants assured investors they were still comfortable with Torrid’s inventory
   12 levels. During the call interim CFO MacDiarmid stated in response to analyst
   13 questions about inventory:
   14                       So we are comfortable with the position of the inventories
   15            within remainder of the year. We are going to have to be more
   16            promotional in Q2 so that we’re doing clean-off of our inventory
   17            heading to the post summer time frame. But we feel like we’ve
   18            planned receipts in the back half of the year such that we’re going to
   19            be comfortable with our inventory position Q3 to Q4 time frame.
   20            169. Following the conference call, analysts expressed confidence in this
   21 strategy and in Torrid’s margins improving in the second half of 2022. For example,
   22 analysts from Cowen Equity Research wrote a June 8, 2022 report highlighting that
   23 Torrid’s “More Targeted Marketing, Promotions” could assure investors there was
   24 “A Better 2H ahead.” Jefferies Equity Research analysts wrote, the same day, that
   25 it saw ahead “enhance[d] promotional and marketing strategies to better balance
   26 margin and sales growth” as the Company “develop[s] a more efficient and effective
   27 organization by re-aligning resources.” Analysts from BofA Securities added that
   28 Torrid management “intends to be more surgical.”
                                                   - 50 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 56 of 91 Page ID #:559




    1            170. Defendants’ statements alleged in ¶¶163, 166-168 were materially false
    2 and/or misleading or omitted material information necessary to make them not
    3 misleading based on the following facts:
    4                       (a)   Defendants failed to disclose that prior to the IPO, Torrid was
    5 forced to abandoned its data driven, low risk merchandising model because it was
    6 suffering from supply chain inconsistencies, inventory shipment delays, increasing
    7 manufacturer lead times, and that because of these conditions, Torrid was unable to
    8 make data driven merchandise decisions, perform read-and-react testing on its
    9 products, or use its speed model to reduce product development during the Class
   10 Period.
   11                       (b)   As a result of the loss of these capabilities, during the Class
   12 Period Torrid was purchasing large quantities of product upfront and exceeding
   13 planned merchandise levels, which left the Company unable to quickly respond to
   14 customer demand; and this resulted in the Company not having the right products on
   15 hand to meet consumer demand and a build-up of excess, stale and obsolete seasonal
   16 inventory.
   17                       (c)   CW-2 confirms, delayed inventory shipments continued to
   18 increase Torrid’s inventory levels following the IPO, almost doubling them and that
   19 the Distribution Center lacked sufficient capacity and staffing to handle these
   20 inventory increases.            CW-2 confirmed that during the Class Period, as the
   21 Distribution Center was overflowing with inventory, trailers full of un-received
   22 inventory sat in the Distribution Center parking lot. These trailers would remain
   23 un-received for weeks, and in some cases not formally received in the Distribution
   24 Center until the following quarter. As CW-2 reported, inventory was not formally
   25 received until it was unloaded, physically brought into the Distribution Center, and
   26 scanned into Torrid’s systems. CW-2 confirmed that the Distribution Center’s lack
   27 of capacity and staffing prevented the Company from getting ready for new product
   28 launches being able to receive new seasonal inventory.
                                                     - 51 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 57 of 91 Page ID #:560




    1                       (d)   The delayed shipments were also causing Torrid to miss seasonal
    2 launches during the Class Period, which created excess inventory that either didn’t
    3 move or could not be sold at full price because it was seasonally stale. As CW-1
    4 reported, when the delayed inventory was eventually processed into the Distribution
    5 Center, it did not sell until promotional activities, including “flash sales,” which
    6 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
    7 to move the inventory.
    8                       5.    August 3, 2022 Press Release
    9            171. On August 3, 2022 Torrid issued a press release announcing the
   10 appointment of a new CFO, Tim Martin, and lowering the 2Q 2022 sales and
   11 adjusted EBITDA guidance previously given on June 7, 2022. In the press release
   12 Harper stated:
   13            While we continue to make progress driving strategic initiatives that
   14            will support sustainable, profitable growth long term, we are reducing
   15            our sales and EBITDA guidance for the second quarter as we continue
   16            to navigate through the current macro environment. Although our web
   17            traffic trends have been consistent, store traffic trends slowed in July
   18            and shipping disruptions caused by upgrades to our distribution
   19            platform during the quarter created unanticipated headwinds. The
   20            increased capacity in our fulfillment center is now operational and
   21            customers are receiving their orders as expected. Additionally, we were
   22            able to clear our projected levels of excess inventory and expect to
   23            have assortments in a balanced position by mid-September. Heading
   24            into the back half of the year, we remain focused on prioritizing
   25            margin through compelling new product, disciplined inventory
   26            management, and cost control through effective resource allocation.
   27
   28
                                                     - 52 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 58 of 91 Page ID #:561




    1            172. Following issuance of the August 3 press release, analysts with Morgan
    2 Stanley noted that Torrid’s “stock declined 8% after-hours following the guidance
    3 cut, though opened up 2% this morning.”
    4            173. Harper’s statements in the August 3 press release that the Company
    5 expects to be in a balanced inventory position by mid-September (beginning of 3Q)
    6 and was making progress with its strategic promotion strategy to drive margin,
    7 encouraged investors. For example, on August 4, 2022 William Blair issued an
    8 equity research report stating that “Torrid has gotten its inventory levels under
    9 control after a quarter of more aggressive promotions, and view this as a
   10 transitionary quarter under a more radical shift in promotional and merchandise
   11 strategy under new management.”
   12            174. The reduced guidance given by Defendants in the August 3, 2022 press
   13 release was materially false and misleading, and had no reasonable basis, given the
   14 undisclosed inventory management and supply chain issues described above in
   15 ¶¶161, 170.
   16                       6.   2Q 2022 SEC Form 10-Q and Earnings Call
   17            175. On September 7, 2022, after the market closed, Torrid announced its
   18 2Q 2022 results on SEC Form 10-Q signed by Harper.
   19            176. In its SEC Form 10-Q, Defendants continued to tout Torrid’s inventory
   20 management systems, stating:
   21            Our strategy is built around a base of core products that provide our
   22            customer with year round style. At the same time, we introduce new
   23            lines of merchandise approximately 16 times per year, thus providing
   24            a consistent flow of fresh merchandise to keep our customer engaged,
   25            encourage repeat business and attract new customers. We employ a
   26            data-driven approach to design and product development, proactively
   27            and quickly incorporating sales and operational performance
   28            information alongside customer feedback from thousands of product
                                                 - 53 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 59 of 91 Page ID #:562




    1            reviews. We engage in ongoing dialogue with customers through social
    2            media and customer surveys.
    3            177. On the same day Defendants hosted an investor conference call to
    4 discuss the Company’s 2Q 2022 results (“2Q 2022 Earnings Call”). On the call
    5 Defendants lowered FY 2022 guidance.
    6            178. On the 2Q 2022 Earnings Call, Defendants reiterated that Torrid would
    7 be back in a balanced inventory position by mid-September (3Q) and margins would
    8 improve because the Company planned for lower inventory receipts for in the second
    9 half of 2022 and Torrid’s excess inventory had been dealt with in 2Q 2022. Harper
   10 stated: “We will continue to focus on clearance through the first part of the third
   11 quarter and we have bought receipts to be more balanced in the back half of the
   12 year.”
   13            179. In responding to analyst questions concerning how many quarters it
   14 would take Torrid to get any additional excess inventory, Harper answered:
   15            I would say right now that we’re really comfortable with the mix of
   16            inventory between clearance and regular price online. And we’re at
   17            2019 levels and store between a mix of clearance and regular price.
   18                       We think that it is getting progressively better. And as I’ve
   19            mentioned, we’re – the inventory purchased in the back half of the year
   20            is down 7% year-over-year. So we feel like that this quarter is the
   21            quarter where we’re really dealing – the last quarter where we’re
   22            dealing with this excess inventory issue. It will improve as we go into
   23            the back half of the third quarter as well as in the fourth quarter.
   24            180. Similarly, on the 2Q 2022 Earnings Call Harper assured investors that
   25 one of Torrid’s top priorities was to reduce site-wide promotions, which was the
   26 cause of Torrid’s gross margins downward trajectory over the four prior consecutive
   27 quarters. On the call Harper told investors that Torrid was already implementing
   28 inventory and demand focused discounts versus blanket promotions leading
                                                    - 54 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 60 of 91 Page ID #:563




    1 investors to believe that gross margin pressures would begin to ease in the second
    2 half of FY 2022. Harper stated:
    3                       This brings me to the 3 main priorities. Our first priority is to
    4            refine our marketing and our promotional strategy. We continue to
    5            believe that there’s an opportunity to reduce site-wide promotions and
    6            to realign our marketing and merchandising strategy. As we move into
    7            the back half of the year, we’ll be testing into more category-focused
    8            promotions based on price elasticity with the goal of reducing discounts
    9            on styles with the strongest natural demand.
   10                       We’re implementing these changes on site, and we started
   11            providing percentage discounts based on inventory and demand as
   12            opposed to blanket promotions. This is the first step in refining our
   13            promotional cadence and driving margin improvements.
   14            181. Harper’s upbeat statements about Torrid’s inventory levels improving
   15 in the second half of FY 2022 and strategy for gross margin turnaround was followed
   16 by similar statements from MacDiarmid, Torrid’s Interim CFO, which were also
   17 materially false and misleading. On the call MacDiarmid confirmed: “As we moved
   18 through [2Q], we remain focused on selling through excess inventory. And with
   19 our current planned sales and receipts, we remain comfortable with [how] our
   20 inventory levels are positioned for the remainder of the year.”
   21            182. Following the 2Q 2022 Earnings Call, analysts at Morgan Stanley noted
   22 that Torrid’s stock traded down -12% after market close reflecting disappointment
   23 in the 2Q 2022 earnings report and updated FY 2022 lowered guidance.
   24            183. Defendants’ statements alleged in ¶¶176, 179-181 were materially false
   25 and/or misleading or omitted material information necessary to make them not
   26 misleading based on the following facts:
   27                       (a)   Defendants failed to disclose that prior to the IPO, Torrid was
   28 forced to abandoned its data driven, low risk merchandising model because it was
                                                      - 55 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 61 of 91 Page ID #:564




    1 suffering from supply chain inconsistencies, inventory shipment delays, increasing
    2 manufacturer lead times, and that because of these conditions, Torrid was unable to
    3 make data driven merchandise decisions, perform read-and-react testing on its
    4 products, or use its speed model to reduce product development during the Class
    5 Period.
    6                       (b)   As a result of the loss of these capabilities, during the Class
    7 Period Torrid was purchasing large quantities of product upfront and exceeding
    8 planned merchandise levels, which left the Company unable to quickly respond to
    9 customer demand; and this resulted in the Company not having the right products on
   10 hand to meet consumer demand and a build-up of excess, stale and obsolete seasonal
   11 inventory.
   12                       (c)   As CW-2 confirms, delayed inventory shipments continued to
   13 increase Torrid’s inventory levels following the IPO, almost doubling them and that
   14 the Distribution Center lacked sufficient capacity and staffing to handle these
   15 inventory increases.            CW-2 confirmed that during the Class Period, as the
   16 Distribution Center was overflowing with inventory, trailers full of un-received
   17 inventory sat in the Distribution Center parking lot. These trailers would remain
   18 un-received for weeks, and in some cases not formally received in the Distribution
   19 Center until the following quarter. As CW-2 reported, inventory was not formally
   20 received until it was unloaded, physically brought into the Distribution Center, and
   21 scanned into Torrid’s systems. CW-2 confirmed that the Distribution Center’s lack
   22 of capacity and staffing prevented the Company from getting ready for new product
   23 launches being able to receive new seasonal inventory.
   24                       (d)   The delayed shipments were also causing Torrid to miss seasonal
   25 launches during the Class Period, which created excess inventory that either didn’t
   26 move or could not be sold at full price because it was seasonally stale. As CW-1
   27 reported, when the delayed inventory was eventually processed into the Distribution
   28 Center, it did not sell until promotional activities, including “flash sales,” which
                                                     - 56 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 62 of 91 Page ID #:565




    1 were limited time sales (e.g., 24 to 48 hours) at deeply discounted prices, were used
    2 to move the inventory.
    3                       7.   December 8, 2022 Earnings Call
    4            184. As described in detail at ¶¶227-229, beginning in December 2021,
    5 partial disclosures regarding the true state of Torrid’s business and financial
    6 performance gradually removed the artificial inflation from Torrid common stock.
    7            185. On December 8, 2022, after the market closed, Torrid announced its 3Q
    8 2022 financial results and on the same day Defendants hosted an investor conference
    9 call to discuss the Company’s 3Q 2022 results (“3Q 2022 Earnings Call”).
   10            186. Contrary to Defendants’ statements during the 2Q 2021 earnings call
   11 on September 8, 2022, that Torrid would be back in a balanced inventory position
   12 by mid-September (3Q) and margins would improve because the Company planned
   13 for lower inventory receipts for the second half of 2022 and Torrid’s excess
   14 inventory had been dealt with in 2Q 2022, Defendants again lowered net sales and
   15 Adjusted EBITDA guidance for FY 2022, as Torrid “continue[d] to focus on
   16 reducing [its] inventory levels” because “[u]nfortunately, given [Torrid’s] inventory
   17 position” it would have to maintain high levels of promotional activities to “continue
   18 to clear through product.”
   19            187. On this news, Torrid common stock fell over 21%, to $3.35 per share
   20 at the close of trading on December 9, 2022.
   21            188. Investors reacted negatively to Defendants’ December 8, 2022
   22 disclosures that heavier product discounts and promotional activity caused 3Q
   23 2021’s disappointing results and were the reason for lower FY 2022 guidance. For
   24 example, on December 9, 2022 Morgan Stanley issued a research report noting that
   25 Torrid’s “3Q22 miss stands out [versus] peers,” and stating that “[t]his weak report
   26 represents one in a string of many and stands out to us in a sea of beats across the
   27 specialty retail space this earnings season.” Analysts at William Blair also issued a
   28 report on December 9, 2022, downgrading Torrid shares to market perform because
                                                  - 57 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 63 of 91 Page ID #:566




    1 of Torrid’s disappointing news, noting in the tile of the report that, “Inventory
    2 Overhang Bigger Than Thought.”
    3            D.         Additional Scienter Allegations
    4            189. By virtue of the facts set forth above at ¶¶82, 84, 90, 139, 148, 161,
    5 170, 183 and below at ¶¶190-224, it may be strongly inferred that Defendants knew
    6 or recklessly disregarded that their Class Period statements were materially false or
    7 misleading to investors and/or omitted facts necessary to make the facts stated not
    8 false or materially misleading.
    9                       1.   Torrid’s Prior Abandonment of an Earlier IPO Due
                                 to the Same Inventory Issues that Existed at the Time
   10                            of the July 2021 IPO Supports Scienter
   11            190. Torrid had previously filed a Registration Statement with the SEC on
   12 July 10, 2017 in anticipation of an IPO, but on April 19, 2019, defendant Muñoz,
   13 Torrid’s CEO at the time, requested that the SEC withdraw the 2017 Registration
   14 Statement “consistent with the public interest and the protection of investors.”
   15            191. Torrid subsequently filed another Registration Statement and on July 1,
   16 2021, the day of Torrid’s IPO, defendant Muñoz explained that the 2017 Registration
   17 Statement had been withdrawn in 2019 because of Torrid’s inventory and inventory
   18 management problems, explaining: “[T]he chain had an inventory problem…. ‘We
   19 didn’t have our head around inventory management. We had no targets or
   20 disciplines around how we acquired inventory.’” Muñoz also stated that “the timing
   21 was right this time around for our IPO, both culturally as well as where we are as a
   22 company,” implying that she had specific knowledge of the Company’s current state
   23 of inventory management and other operations.
   24            192. Management’s decision to withdraw the 2017 Registration Statement
   25 in 2019 because of the Company’s inability to manage its inventory, and defendant
   26 Muñoz’s comments about those issues on the day of the IPO, creates a strong
   27 inference that the Individual Defendants either had specific and detailed knowledge
   28
                                                    - 58 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 64 of 91 Page ID #:567




    1 of Torrid’s inventories and inventory management systems or were reckless in not
    2 having that knowledge.
    3                       2.   Defendants’ Admissions that They “Carefully
                                 Monitored” and Reviewed Torrid’s Inventory Levels
    4                            and Other Financial Metrics
    5            193. The Individual Defendants, admittedly, had detailed knowledge of
    6 Torrid’s operations and performance, including its inventory levels, sales and
    7 margins. According to the Registration Statement, which Defendants signed and/or
    8 participated in drafting, they employed a “data-driven approach” to manage sales
    9 and inventory, where management closely “review[ed] [Torrid’s] inventory levels
   10 on an ongoing basis,” and “monitor[ed] inventory levels, sales trends and sales
   11 forecasts to estimate and record reserves for excess, slow-moving and obsolete
   12 inventory.”
   13            194. Following the IPO, and using the information they obtained from
   14 closely monitoring Torrid’s inventory and financial metrics, Torrid executives,
   15 including defendants Muñoz, Wehlitz, and Harper, provided investors with updates
   16 as to the Company’s financial and operational performance, inventory levels, and
   17 gross profit margins on each and every earnings call held throughout the Class
   18 Period. For example, during the 3Q 2021 Earnings Call, Muñoz highlighted Torrid’s
   19 “powerful and nimble operating model” while giving investors an update as to the
   20 Company’s gross profit margins. On the 4Q 2021 Earnings Call, defendants Muñoz
   21 and Wehlitz told investors the Company had “ended the quarter in a strong inventory
   22 position” despite “inventory constraints and the impact of the Omicron variant,” and
   23 that executives were “comfortable with both the level and the newness of [Torrid’s]
   24 inventory.”
   25            195. Wehlitz, as CFO of Torrid, likewise spoke frequently about Torrid’s
   26 inventory management and gross profit margins on conference calls with investors
   27 during his time as the Company’s CFO. For example, during the 2Q 2021 Earnings
   28 Call, defendant Wehlitz provided an update on Torrid’s inventory levels and
                                                  - 59 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 65 of 91 Page ID #:568




    1 informed investors that the Company would “continue to carefully monitor the
    2 supply chain situation” and stated: “[W]e are really monitoring what those arrivals
    3 are and shifts are in our inventory.”
    4            196. On the 3Q 2021 Earnings Call, Wehlitz told investors the Company was
    5 “below optimal levels” of inventory, but that it had been “particularly pleased with
    6 [its] sales performance given the inventory constraints caused by the supply chain
    7 challenges we faced during the quarter” and felt “very comfortable with the adequate
    8 inventory levels” it would soon have. On the 4Q 2021 Earnings Call, defendant
    9 Wehlitz told investors “[w]e feel very good about what we have in inventory. We
   10 feel good about the compensation of what we have in the inventory. And we feel
   11 good about what’s coming in as well as what we factored in.”
   12            197. In light of these statements about Torrid to the market on topics that
   13 were material to both investors and the Company, it was incumbent upon the
   14 Individual Defendants to ensure they understood the true and full facts concerning
   15 the topics on which they spoke. Either they possessed the knowledge of Torrid’s
   16 financial and operational results they claimed to have from closely and carefully
   17 monitoring them, in which case they knew their statements were materially false or
   18 misleading, or they lacked the knowledge they claimed to have, in which case their
   19 conduct was severely reckless.
   20                       3.   Defendants’ Class Period Admissions Regarding
                                 Torrid’s Undisclosed Abandonment of Its Low-Risk
   21                            Merchandising Model, Steep Inventory Discounts and
                                 Incapable Distribution Center
   22
                 198. Defendants made several critical admissions during the Class Period
   23
        about the capacity of Torrid’s Distribution Center, its abandonment of the low-risk
   24
        merchandising model and steep discounts Torrid had been giving in order to sell
   25
        excess inventory.
   26
                 199. First, Defendants admitted that the Company had not been using
   27
        promotions “strategically,” as they previously stated in the Registration Statement.
   28
                                                  - 60 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 66 of 91 Page ID #:569




    1 Rather, Torrid had been giving customers steep discounts in order to move its glut
    2 of inventory. During the 1Q 2022 Earnings Call, defendant Harper revealed that “[i]n
    3 the past, our promotions have been largely broad-based offers to all customers and
    4 across categories, which was anchored heavily on percentage discount.”
    5            200. Then, during the 2Q 2022 Earnings Call, defendant Harper conceded
    6 that, in connection with “managing [Torrid’s] inventory,” Torrid had been
    7 “upgrading the capacity in [its] distribution center.” Construction necessary to
    8 increase the capacity of a distribution center obviously does not happen overnight
    9 and takes at least several months to obtain the appropriate Company approvals,
   10 negotiate the work to be done and complete construction (particularly since COVID
   11 with prevalent supply-chain issues). Thus, Defendants knew, or recklessly discarded
   12 that their statements that Torrid’s Distribution Center was “state-of-the-art” and had
   13 sufficient capacity, were materially false.
   14            201. Finally, at the end of the Class Period, Defendants admitted that Torrid
   15 had long ago been forced to abandon its purported low-risk merchandising model.
   16 During the 3Q 202 Earnings Call, defendant Harper admitted that Torrid had, in fact,
   17 not been able to utilize its low-risk merchandising model, further contributing to
   18 lower profits and gross margins over the last several quarters.
   19            202. Defendants’ own admissions of the undisclosed facts that Torrid had
   20 abandoned its low-risk model and ordered larger quantities sooner than needed, even
   21 though the Company’s distribution center lacked sufficient capacity to house and
   22 process incoming inventory resulting in millions of dollars in excess inventory that
   23 Torrid was then forced to heavily discount-supports a strong inference of scienter.
   24                       4.   Defendants’ Detailed Responses to Pointed Analysts
                                 Questions Supports Their Actual Knowledge of the
   25                            Facts About Which They Spoke
   26            203. Defendants’ detailed responses to pointed analyst questions throughout
   27 the Class Period further supports scienter. For example, during the 3Q 2021
   28 Earnings Call, in response to analyst questions about what the level and type of
                                                  - 61 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 67 of 91 Page ID #:570




    1 promotional activity investors could expect from Torrid in 4Q 2021, both Wehlitz
    2 and Muñoz told investors that Torrid’s increased 4Q promotional activity was “very
    3 strategic” due to events such as Black Friday and Cyber Monday and used as a
    4 “customer engagement tool,” assuring analysts that the promotional activity was not
    5 to clear excess or non-moving inventory. On the 3Q 2021 Earnings Call, defendant
    6 Muñoz stated: “We don’t necessarily use promotions to drive product that’s not
    7 working or things like that. We use them as an engagement tool.”
    8            204. Concerned about macro COVID-related supply chain issues and
    9 potential increased promotional activity due to shipping delays, on the 4Q 2021
   10 Earnings Call, analysts continued to ask defendants about the “promotional
   11 environment” Defendants were seeing. Both Muñoz and Wehlitz again assured
   12 investors that promotional activity was being used strategically as a customer
   13 engagement tool and that promotional activity in FY 2022 was expected to
   14 normalize:
   15                       [Muñoz:] As far as the promotional activity, we see promotional
   16            activity to be similar to ‘21. And we are focused on the promotional
   17            events that we know are part of our DNA, and they form a bond with
   18            our customer. They drive engagement. And I will tell you that a lot of
   19            these promotional events are also really good new customer acquisition
   20            tools. . . .
   21                       [Wehlitz:] . . . [L]ooking at ‘22 to be more of a normalized year
   22            related to that. But if you’re looking compared to 2021, remember that
   23            the first half of the year, we were much more impacted by the stimulus
   24            and the pent-up demand. And there was less promotional activity going
   25            on because of what she was spending and she had available to spend.
   26            So it will be more of a normalized [year related to] that as we look more
   27            towards pre-COVID levels.
   28
                                                      - 62 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 68 of 91 Page ID #:571




    1            205. On the 4Q 2021 Earnings Call in response to follow-up questions from
    2 analysts about Torrid’s increased inventory levels compared to sales and how the
    3 market should view this information, Wehlitz responded:
    4            So from a comparison with – at the end of the year 2021 compared to
    5            2019, our inventory in total was up. But if you look at it from – and
    6            excluding in-transit, because, again, with this delay related to the supply
    7            chain and the transit times, it has increased what we have in-transit in
    8            the water, not in our buildings. You exclude that, we were up 12%
    9            compared to ‘19. So very in line with what we’re looking at from a
   10            sales perspective.
   11                       We feel very good about what we have in inventory. We feel
   12            good about the composition of what we have in the inventory. And we
   13            feel good about what’s coming in as well as what we factored in.
   14            206. During the 2Q 2022 Earnings Call in response to analyst questions
   15 concerning how many quarters it would take Torrid to get any additional excess
   16 inventory, defendant Harper answered:
   17            I would say right now that we’re really comfortable with the mix of
   18            inventory between clearance and regular price online. And we’re at
   19            2019 levels and store between a mix of clearance and regular price.
   20                       We think that it is getting progressively better. And as I’ve
   21            mentioned, we’re – the inventory purchased in the back half of the year
   22            is down 7% year-over-year. So we feel like that this quarter is the
   23            quarter where we’re really dealing – the last quarter where we’re
   24            dealing with this excess inventory issue. It will improve as we go into
   25            the back half of the third quarter as well as in the fourth quarter.
   26            207. Defendants’ very detailed responses to analysts’ questions about
   27 inventory levels, Torrid’s ability to sell its inventory and whether it would need to
   28 use significant discounting to demonstrate they either possessed the knowledge of
                                                    - 63 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 69 of 91 Page ID #:572




    1 these facts and made materially false statements anyway, or they lacked the
    2 knowledge they claimed to have, in which case their conduct was severely reckless.
    3                       5.   Defendants Were Aware of Increasing Inventory
                                 Levels from Access to, or Receipt of, Inventory Count
    4                            and in-Bound Receiving Log Reports and the KPI
                                 Dashboard
    5
                 208. CW-2, responsible for overseeing a team that performed daily counts
    6
        of inventory in the Distribution Center, submitted periodic reports of these inventory
    7
        counts to Torrid headquarters. According to CW-2, the daily counts were designed
    8
        to ensure, among other things, that certain targets set by the corporate office were
    9
        achieved. CW-2 also created and sent to corporate headquarters periodically, “In-
   10
        Bound Receiving logs,” which contained detailed information about the flow of
   11
        inventory from Torrid’s suppliers to the Distribution Center, including the number
   12
        of trailers received and incoming, whether those trailers had been unloaded into the
   13
        Distribution Center, and identification numbers for those trailers.
   14
                 209. Also, the WMS had a 25-part KPI dashboard that generated inventory
   15
        related reports, including inventory valuation reports, and order fulfillment reports,
   16
        to which Torrid’s executives had access.
   17
                 210. These reports and the KPI Dashboard would have informed Defendants
   18
        of the Company’s inventory delays and then excessive build-up during the Class
   19
        Period, among other things.
   20
                 211. Defendants, as executive officers of Torrid located at the corporate
   21
        headquarters, would have had access to and/or received the In-Bound Receiving Log
   22
        and inventory count reports and the KPI Dashboard, particularly given they
   23
        admittedly closely and carefully monitored Torrid’s inventory levels throughout the
   24
        Class Period. ¶¶193-197, supra. Thus, they would have been aware that inventory
   25
        levels noticeably increased shortly after the IPO and that the Distribution Center was
   26
        inadequate to handle these increased levels.
   27
   28
                                                   - 64 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 70 of 91 Page ID #:573




    1                       6.   Torrid’s Lack of Internal Controls Supports Scienter
    2            212. Defendants Muñoz and Wehlitz signed the Company’s 2Q 2021 Form
    3 10-Q, 3Q 2021 Form 10-Q, and FY 2021 Form 10-K financial statements.
    4 Defendants Muñoz and Wehlitz also signed certifications pursuant to the Sarbanes-
    5 Oxley Act of 2002 (“SOX Certifications”), attesting that that the Company’s
    6 financial statements “fairly present[ed] in all material respects the financial
    7 condition, results of operations and cash flows” of the Company for Torrid’s 2Q
    8 2021 Form 10 Q, 3Q 2021 Form 10 Q, and FY 2021 Form 10-K filed with the SEC.
    9 Defendant Harper signed the Company’s 1Q 2022 Form 10-Q, 2Q 2022 Form 10-Q,
   10 and 3Q 2022 Form 10-Q as well as SOX Certifications appended to each.
   11            213. Torrid, however, lacked sufficient internal controls over its financial
   12 reporting throughout the Class Period, resulting in the misstatement of its financial
   13 statements from inventory sitting out on trailers not recorded in WMS or the
   14 Company’s financial statements. As alleged herein, as a result of Torrid’s lack of
   15 internal controls, its inventory balance was understated, and gross margins and
   16 earnings were overstated in the Registration Statement.
   17            214. Defendants were aware of, or recklessly disregarded these facts through
   18 their purportedly close and careful monitoring of inventory and other financial
   19 metrics, as well as from reports received from Torrid’s distribution center.
   20                       7.   Executive Departures Support a Strong Inference of
                                 Scienter
   21
                 215. Torrid’s Registration Statement listed four directors and four members
   22
        of senior management at the time of its IPO – defendant Muñoz as CEO, defendant
   23
        Wehlitz as CFO, Michael Salmon as Chief Operating Officer, and Anne Stephenson
   24
        as Chief Merchandising and Product Officer. Today, less than two years later,
   25
        Torrid’s entire management and executive team has since resigned or been replaced,
   26
        further supporting a strong inference of scienter.
   27
   28
                                                   - 65 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 71 of 91 Page ID #:574




    1            216. The Company announced on December 8, 2021 that its CFO, defendant
    2 Wehlitz, had resigned and would soon leave his role as Torrid CFO. Wehlitz’s
    3 announced departure was within just six months of the IPO and after he pocketed
    4 over $4.4 million in proceeds.
    5            217. On May 3, 2022, the Company announced that defendant Muñoz was
    6 stepping down from her role as CEO and from the Board, effective immediately.
    7            218. On August 3, 2022, Torrid announced that its CFO MacDiarmid, who
    8 had taken the role following defendant Wehlitz’s resignation, would also be stepping
    9 down as the Company’s CFO, effective September 12, 2022.
   10            219. On October 4, 2022, Torrid announced in a Form 8-K filed with the
   11 SEC that its head of human resources, Kelly McGuire Diehl, had been fired, and
   12 would be replaced by the Company’s Chief Legal Officer.
   13            220. On January 5, 2023, Torrid notified investors, through a Form 8-K filed
   14 with the SEC, that the Company had also entered into a separation agreement with
   15 its Chief Strategy Officer, Michael Salmon. Notably absent from the filing was
   16 Torrid’s standard language used in Item 5.02 disclosures that the separation was “not
   17 related to any issues regarding financial disclosures or account matters.”
   18            221. On March 23, 2023, Torrid filed a Form 8-K with the SEC, informing
   19 the public and investors that it had also reached a separation agreement with its Chief
   20 Merchandising and Product Officer, Anne Stephenson. Similar to the Company’s
   21 announcement of its Chief Strategy Officer’s departure just two months earlier, the
   22 SEC Form 8-K filed March 23, 2023, did not contain the standard assurance that
   23 Torrid’s separation with its Chief Merchandising and Product Officer was “not
   24 related to any issues regarding financial disclosures or account matters.”
   25                       8.   Defendants’ Insider Sales During the Class Period
                                 Further Support an Inference of Scienter
   26
                 222. Defendants sold over $235 million of Torrid common stock during the
   27
        Class Period, while possessing material, non-public information about the Company,
   28
                                                   - 66 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 72 of 91 Page ID #:575




    1 avoiding nearly $200 million in losses by not holding those shares through the Class
    2 Period. Defendants’ Class Period sales are summarized in the chart below.
    3             Defendant           Shares Sold            Proceeds   Losses Avoided
    4        Sycamore                 10,701,990      $210,133,573.65   $174,281,907.15
    5        Lisa Harper               730,397        $14,341,345.10     $11,894,515.15
    6        Elizabeth Muñoz           351,200        $6,295,411.370     $5,118,891.37
             George Wehlitz            223,609         $4,436,213.65     $3,687,123.50
    7        Sum                      12,007,196      $235,206,543.76   $194,982,437.16
    8
                            9.   Defendants’ Class Period Compensation Including
    9                            IPO Incentive Awards Constitutes Additional
                                 Evidence of Scienter
   10
                 223. The Individual Defendants were highly motivated to materially
   11
        misstate the success of Torrid’s operations and business throughout the Class Period.
   12
        Defendants Muñoz and Wehlitz received over $28 million and $22.7 million,
   13
        respectively, in fully-vested Torrid common stock in connection with the IPO.
   14
        Defendants Muñoz and Wehlitz’s total compensation figures were $39,956,898 and
   15
        $24,955,094, respectively, for fiscal year 2021 alone.
   16
                 224. Defendant Muñoz, pursuant to her employment agreement with the
   17
        Company, also received $1.5 million of Torrid stock upon Torrid’s IPO as an “IPO
   18
        Award,” with 50% of those shares vesting immediately. The Company held similar
   19
        agreements with other unnamed executives and members of Torrid management,
   20
        totaling $4.4 million of share-based compensation immediately upon the
   21
        consummation of any IPO.
   22
                 E.         Loss Causation
   23
                 225. During the Class Period, as detailed herein, the Exchange Act
   24
        Defendants engaged in a scheme and wrongful course of business that artificially
   25
        inflated the price of Torrid common stock by making materially false and misleading
   26
        statements and/or omitting material information concerning Torrid’s business
   27
        practices and financial results. By artificially inflating and manipulating Torrid’s
   28
                                                    - 67 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 73 of 91 Page ID #:576




    1 stock price, the Exchange Act Defendants deceived Plaintiffs and the Class and
    2 caused them losses when the truth was revealed. As the Exchange Act Defendants’
    3 prior misrepresentations and fraudulent conduct reached the market through a series
    4 of partial disclosures, it caused Torrid’s stock price to fall precipitously as the prior
    5 artificial inflation was removed. As a result of their purchases of Torrid common
    6 stock during the Class Period, Plaintiffs and other members of the Class suffered
    7 economic loss, i.e., damages, under the federal securities laws.
    8            226. The disclosures that corrected the market price to eliminate the inflation
    9 maintained by Defendants’ fraud are detailed below. These stock price declines
   10 were due to firm-specific, fraud-related disclosures and not the result of market,
   11 industry, or firm-specific, non-fraud factors.
   12            227. On December 8, 2021, after the market closed, Torrid held its 3Q 2021
   13 Earnings Call with investors. During the call, Defendants disclosed that 3Q sales
   14 came in at the low end of guidance due to inventory delays and that the Company
   15 was narrowing its 4Q 2021 and FY 2021 guidance due to inflation headwinds
   16 (including air freight) and continued inventory delays in 4Q 2021. As a result of this
   17 partial disclosure, the price of Torrid’s shares declined over 27% on a volume of
   18 more than 6 million shares to close at $11.28 per share on December 9, 2021. While
   19 Torrid’s stock price dropped over 27%, the S&P 500 Index and the S&P Retail Select
   20 Industry Index (the two comparative index identified in Torrid’s FY 2021 Form
   21 10-K), declined only 0.71% and 1.77%, respectively. However, the corrective
   22 impact of this disclosure was tempered by Defendants continued misleading
   23 statements and omissions that concealed the full impact of Defendants’ fraud from
   24 investors.
   25            228. On January 10, 2022, before the market opened for trading that day,
   26 Torrid issued a press release, announcing another lowering of its already
   27 disappointing sales and earnings guidance for 4Q 2021. As a result of this partial
   28 disclosure, the price of Torrid’s shares declined over 23% to close at $8.20 per share
                                                  - 68 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 74 of 91 Page ID #:577




    1 on January 10, 2022. While Torrid’s stock price dropped over 23%, the S&P 500
    2 Index and the S&P Retail Select Industry Index declined 0.14% and 1.74%,
    3 respectively. However, the corrective impact of this disclosure was tempered by
    4 Defendants’ continued misleading statements and omissions that concealed the full
    5 impact of Defendants’ fraud from investors.
    6            229. On June 7, 2022, after the market closed, Torrid held its 1Q 2022
    7 Earnings Call with investors. During the call, Defendants disclosed disappointing
    8 2Q 2022 guidance, stating that the 2Q “outlook assumes our gross margin rate will
    9 be below Q1 as we clear through inventory heading into the back half of the year.”
   10 As a result of this partial disclosure, the price of Torrid’s shares fell over 6%, to
   11 $5.42 per share at the close of trading on June 8, 2022. While Torrid’s stock price
   12 fell over 6%, the S&P 500 Index and S&P Retail Select Industry Index, declined
   13 1.08% and 0.07%, respectively. However, the corrective impact of this disclosure
   14 was tempered by Defendants’ continued misleading statements and omissions that
   15 concealed the full impact of Defendants’ fraud from investors.
   16            230. On December 8, 2022, shortly after the market closed, Torrid held its
   17 3Q 2022 Earnings Call with investors. During the 3Q 2022 Earnings Call, investors
   18 learned that Torrid’s gross profit margins continued to decline, now only 31.6% in
   19 the third quarter of 2022, compared to 40.9% just the year before. The Company’s
   20 new CFO explained this decline was almost entirely attributable to Torrid’s
   21 inventory levels, stating “[a]pproximately 850 basis points of this decline was due
   22 to higher discounts and promotions to clear inventory.” Defendant Harper admitted
   23 on the call that the Company had not been able to utilize Torrid’s data driven, low-
   24 risk merchandising model, further contributing to lower profits and gross margins.
   25 During the same call, Defendants admitted some of Torrid’s processes for
   26 developing product assortment flow “had been lost over the pandemic time period.”
   27 The Company again lowered net sales and Adjusted EBITDA guidance, as Torrid
   28 “continue[d] to focus on reducing [its] inventory levels” because “[u]nfortunately,
                                                - 69 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 75 of 91 Page ID #:578




    1 given [Torrid’s] inventory position” it would have to maintain high levels of
    2 promotional activities to “continue to clear through product.” As a result of this
    3 disclosure, Torrid stock price fell over 21%, to $3.35 per share at the close of trading
    4 on December 9, 2022.
    5            231. The causes of the decline were confirmed by analyst reports published
    6 shortly thereafter. On December 9, 2022, BofA Securities cut its price objective by
    7 16.67%, citing “heavy promos to right inventory.” Cowen Equity Research lowered
    8 its price target by 16% in a report headlined “Inventory Rationalization and Greater
    9 Discipline Ahead,” that highlighted the Company’s need to “work through
   10 merchandising, marketing, and promotional strategies … .” Analysts from Jefferies
   11 Equity Research similarly lowered their price target of Torrid common stock by
   12 22%, in line with the decline reflected in the market, explaining that the “G[ross]
   13 M[argin] miss was due to increased promotional activity to clear through excess
   14 inventory” a trend Jefferies “expected to continue.” Morgan Stanley Research
   15 described the Company’s 3Q 2022 reports as “Another Stumble” that “further
   16 diminishe[d] investors’ confidence in the business & management.”              Morgan
   17 Stanley went on to describe Torrid as “the only specialty retailer in our coverage to
   18 miss on revenue & EPS/EBITDA this quarter” as the Company’s “weak report
   19 represents one in a string of many.” The same day, William Blair Equity Research
   20 downgraded the Company’s stock in a report that noted “weaker-than-expected
   21 results” as “inventories were up 43% compared to a 13% increase in sales over the
   22 same period” with a headline that read “Downgrading to Market Perform; Inventory
   23 Overhang Bigger Than Thought.”
   24            F.         The Presumption of Reliance
   25            232. A class-wide presumption of reliance is appropriate with respect to the
   26 Exchange Act claims in this action under the fraud-on-the-market doctrine. As a
   27 result of Defendants’ materially false and misleading statements, the Company’s
   28
                                                  - 70 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 76 of 91 Page ID #:579




    1 publicly traded common stock traded at artificially inflated prices during the Class
    2 Period on a market that was open, well-developed, and efficient at all times.
    3 Plaintiffs and other members of the Class purchased or otherwise acquired the
    4 Company’s publicly traded common stock relying upon the integrity of the market
    5 price of those securities and the market information relating to Torrid, and have been
    6 damaged thereby.
    7            233. A class-wide presumption of reliance is also appropriate with respect
    8 to the Exchange Act claims in this action under the United States Supreme Court’s
    9 holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),
   10 because such claims are grounded on Defendants’ material omissions. Because this
   11 action involves Defendants’ failure to disclose material adverse information
   12 regarding the Company’s business operations and financial prospects – information
   13 that Defendants were obligated to disclose – positive proof of reliance is not a
   14 prerequisite to recovery. All that is necessary is that the facts withheld be material
   15 in the sense that a reasonable investor might have considered them important in
   16 making investment decisions. Given the importance of Defendants’ material Class
   17 Period omissions set forth above, that requirement is satisfied here.
   18            234. At all relevant times, the market for Torrid common stock was an
   19 efficient market for the following reasons, among others:
   20                       (a)   Torrid common stock met the requirements for listing, and was
   21 listed, actively traded on the NYSE, a highly efficient market;
   22                       (b)   As a regulated issuer, Torrid filed periodic public reports with
   23 the SEC and the NYSE;
   24                       (c)   Torrid regularly communicated with public investors via
   25 established market communication mechanisms, including the regular dissemination
   26 of press releases on the national circuits of major newswire services and other wide-
   27 ranging public disclosures, such as communications with the financial press and
   28 other similar reporting services;
                                                     - 71 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 77 of 91 Page ID #:580




    1                       (d)      Torrid was followed by securities analysts employed by major
    2 brokerage firms such as BofA Securities, Jefferies, Cowen Equity Research, William
    3 Blair, and Morgan Stanley, among others, who wrote research reports that were
    4 distributed to the sales force and certain customers of their respective brokerage
    5 firms.        Each of these reports were publicly available and entered the public
    6 marketplace; and
    7                       (e)      Torrid stock price reacted in response to new, material
    8 information about Torrid’s business.
    9            235. As a result of the foregoing, the market for Torrid common stock
   10 promptly digested current information regarding Torrid from all publicly available
   11 sources and reflected such information in the price of the stock. Under these
   12 circumstances, all purchasers of Torrid common stock during the Class Period
   13 suffered similar injury through their purchase of Torrid common stock at artificially
   14 inflated prices and a presumption of reliance applies.
   15            G.         Exchange Act Counts
   16                                                COUNT IV
   17                 Violations of §10(b) of the Exchange Act and SEC Rule 10b-5
                                 (Against the Exchange Act Defendants)
   18
                 236. This count is brought against Torrid and the Individual Defendants.
   19
                 237. Plaintiffs incorporate the allegations above in ¶¶129-235.
   20
                 238. During the Class Period, each of the Exchange Act Defendants named
   21
        in this count disseminated or approved the statements as specified above in ¶¶129-
   22
        188,      which           they   knew   or   recklessly   disregarded   contained   material
   23
        misrepresentations and/or failed to disclose material facts necessary in order to make
   24
        the statements made, in light of the circumstances under which they were made, not
   25
        misleading.
   26
                 239. The Exchange Act Defendants named in this count violated §10(b) of
   27
        the Exchange Act and SEC Rule 10b-5 in that they:
   28
                                                        - 72 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 78 of 91 Page ID #:581




    1                       (a)   employed devices, schemes, and artifices to defraud;
    2                       (b)   made untrue statements of material facts or omitted to state
    3 material facts necessary in order to make the statements made, in light of the
    4 circumstances under which they were made, not misleading; or
    5                       (c)   engaged in acts, practices and a course of business that operated
    6 as a fraud or deceit upon Plaintiffs and others similarly situated in connection with
    7 their purchases of Torrid common stock during the Class Period.
    8            240. Exchange Act Defendants, individually and together, directly and
    9 indirectly, by the use, means of instrumentalities of interstate commerce and/or the
   10 mails, engaged and participated in a continuous course of conduct to conceal the
   11 truth and/or adverse material information about Torrid’s business, operations and
   12 financial condition as specified herein.
   13            241. Exchange          Act   Defendants       had   actual   knowledge   of   the
   14 misrepresentations and omissions of material fact set forth herein, or recklessly
   15 disregarded the true facts that were available to them.
   16            242. As a result of the dissemination of the materially false or misleading
   17 information and/or failure to disclose material facts, as set forth above, the market
   18 price of Torrid common stock was artificially inflated during the Class Period. In
   19 ignorance of the fact that the market price of the Company’s common stock was
   20 artificially inflated, and relying directly or indirectly on the false and misleading
   21 statements, or upon the integrity of the market in which the Company’s common
   22 stock traded and/or on the absence of material adverse information that was known
   23 to or recklessly disregarded by defendants (but not disclosed in defendants’ public
   24 statements during the Class Period), Plaintiffs and the other Class members
   25 purchased or otherwise acquired Torrid common stock during the Class Period at
   26 artificially high prices and were harmed thereby.
   27            243. Plaintiffs and the Class, in reliance on the integrity of the market, paid
   28 artificially inflated prices for Torrid common stock, and suffered losses when the
                                                      - 73 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 79 of 91 Page ID #:582




    1 relevant truth was revealed. Plaintiffs and the Class would not have purchased
    2 Torrid common stock at the prices they paid, or at all, if they had been aware that
    3 the market prices had been artificially and falsely inflated by these defendants’
    4 misleading statements.
    5            244. As a direct and proximate result of the Exchange Act Defendants’
    6 wrongful conduct, Plaintiffs and the other Class members suffered damages in
    7 connection with their Class Period transactions in Torrid common stock.
    8            245. By reason of the foregoing, the Exchange Act Defendants named in this
    9 count have violated §10(b) of the Exchange Act and SEC Rule 10b-5.
   10                                         COUNT V
   11                         Violations of §20(a) of the Exchange Act
                  (Against Sycamore and the Individual Exchange Act Defendants)
   12
                 246. Plaintiffs incorporate the allegations in ¶¶129-245, above.
   13
                 247. This count is brought against Sycamore and the Individual Exchange
   14
        Act Defendants.
   15
                 248. The Individual Exchange Act Defendants were each control persons of
   16
        Torrid during the Class Period by virtue of their positions as directors and/or senior
   17
        officers.
   18
                 249. Sycamore was a control person of Torrid during the Class Period by
   19
        virtue of its controlling share of Torrid that it held throughout the Class Period.
   20
                 250. Each of the defendants named in this count acted as controlling persons
   21
        of Torrid within the meaning of §20(a) of the Exchange Act. By virtue of their high-
   22
        level positions as officers and/or directors, their ownership and contractual rights,
   23
        participation in and awareness of the Company’s operations and knowledge of the
   24
        statements filed by the Company with the SEC and/or disseminated to the investing
   25
        public, these defendants had the power to influence and control, and did influence
   26
        and control, directly or indirectly, the decision-making of the Company, including
   27
        the content and dissemination of the allegedly false and misleading statements.
   28
                                                 - 74 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 80 of 91 Page ID #:583




    1            251. Each of the Individual Exchange Act Defendants had direct or
    2 supervisory responsibility over the day-to-day operations of the Company and,
    3 therefore, is presumed to have had the power to control or influence the particular
    4 transactions and business practices giving rise to the securities violations as alleged
    5 in Count IV, and exercised that power.
    6            252. As a direct and proximate result of these defendants’ wrongful conduct,
    7 Plaintiffs and the other members of the Class suffered damages in connection with
    8 their purchases and acquisitions of the Company’s common stock during the Class
    9 Period as the relevant truth was revealed.
   10            253. By reason of the foregoing, the defendants named in this count violated
   11 §20(a) of the Exchange Act.
   12                                         COUNT VI
   13                       Violations of §20A of the Exchange Act
            (Against the Sycamore Defendants and Defendants Muñoz, Wehlitz, and
   14                                       Harper)
   15            254. Lead Plaintiff repeats and realleges each and every allegation set forth
   16 above as if fully set forth herein. Count VI is brought pursuant to §20A of the
   17 Exchange Act against the Sycamore Defendants, Muñoz, Wehlitz, and Harper, on
   18 behalf of Lead Plaintiff and members of the Class who traded contemporaneously
   19 with the Defendants named herein, and were damaged by those defendants’ insider
   20 trading.
   21            255. As detailed herein, the Sycamore Defendants, Muñoz, Wehlitz, and
   22 Harper were in possession of material non-public information concerning Torrid at
   23 the time of the IPO. The Defendants took advantage of possessing material non-
   24 public information regarding Torrid to obtain over $230 million in insider trading
   25 profits during the IPO.
   26            256. Defendants’     sales   of     Torrid   common    stock   were    made
   27 contemporaneously with Lead Plaintiff’s purchases of Torrid common stock as set
   28 forth below.
                                                   - 75 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 81 of 91 Page ID #:584




    1            257. Defendant Sycamore made the following sales:
    2                       Defendant    Date of         Shares Sold    Price
                                           Sale
    3                       Sycamore4    7/6/2021        10,701,990    $19.635
    4
                 258. Defendant Sycamore’s sales were made contemporaneously with the
    5
        following purchases by Plaintiffs:
    6
                            Plaintiff    Date of    Shares Purchased     Price
    7                                   Purchase
                     City of Warren     7/1/2021            1800        $21.00
    8
                     City of Warren     7/12/2021            300        $23.44
    9                City of Warren     7/13/2021            100        $23.24
   10                City of Warren     7/14/2021            400        $23.48
                     City of Warren     7/20/2021            300        $22.49
   11
                     City of Warren     7/22/2021            300        $22.54
   12
                 259. Defendant Harper made the following sales:
   13
                            Defendant   Date of      Shares Sold        Price
   14                                     Sale
   15                        Harper     7/6/2021          730,397      $19.635
   16            260. Defendant Harper’s sales were made contemporaneously with the
   17 following purchases by Plaintiffs:
   18                                    Date of
                            Plaintiff   Purchase    Shares Purchased     Price
   19                City of Warren     7/1/2021            1800        $21.00
   20                City of Warren     7/12/2021            300        $23.44
   21                City of Warren     7/13/2021            100        $23.24
                     City of Warren     7/14/2021            400        $23.48
   22
                     City of Warren     7/20/2021            300        $22.49
   23                City of Warren     7/22/2021            300        $22.54
   24
                 261. Defendant Wehlitz made the following sales:
   25
   26
      4
         As noted in §III.A.2.C., supra, defendant Sycamore held and traded its shares
   27 individually and by and through the Sycamore Entities. The trades depicted in this
      chart thus reflect shares held and sold by the Sycamore Defendants, collectively.
   28
                                                - 76 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 82 of 91 Page ID #:585




    1                       Defendant    Date of     Shares Sold        Price
                                           Sale
    2                  Wehlitz          7/6/2021         210,837       $19.635
    3              Wehlitz              7/30/2021         10,625        $27.00
    4            262. Defendant Wehlitz’s sales were made contemporaneously with the
    5 following purchases by Plaintiffs:
    6                               Date of
                  Plaintiff        Purchase         Shares Purchased     Price
    7
               City of Warren      7/1/2021                1800          $21.00
    8          City of Warren      7/12/2021                300          $23.44
    9          City of Warren      7/13/2021                100          $23.24
               City of Warren      7/14/2021                400          $23.48
   10
               City of Warren      7/20/2021                300          $22.49
   11          City of Warren      7/22/2021                300          $22.54
   12              Schroth         8/9/2021                  1          $26.664
   13            263. Defendant Muñoz made the following sales:
   14                                    Date of
                            Defendant      Sale      Shares Sold        Price
   15
                             Muñoz      7/6/2021         252,637       $19.635
   16                        Muñoz      7/30/2021         17,152        $27.00
   17                        Muñoz      8/30/2021         13,258        $24.45
   18                        Muñoz      7/7/2022          5,903         $4.45
                             Muñoz      8/29/2022         13,258        $6.19
   19
                 264. Defendant Muñoz’s sales were made contemporaneously with the
   20
        following purchases by Plaintiffs:
   21
                            Plaintiff    Date of    Shares Purchased     Price
   22                                   Purchase
   23                City of Warren     7/1/2021           1800          $21.00
                     City of Warren     7/12/2021           300          $23.44
   24
                     City of Warren     7/13/2021           100          $23.24
   25                City of Warren     7/14/2021           400          $23.48
   26                City of Warren     7/20/2021           300          $22.49
   27                City of Warren     7/22/2021           300          $22.54
                         Schroth        8/9/2021             1          $26.664
   28
                                                - 77 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 83 of 91 Page ID #:586




    1                       Schroth    8/31/2022             200              $5.71
    2                       Schroth    9/19/2022             180              $5.61
                            Schroth    9/27/2022            2,000             $4.35
    3
                            Schroth    9/27/2022              1               $4.34
    4                       Schroth    9/27/2022              1               $4.34
    5
                 265. Lead Plaintiff and members of the Class who purchased shares of
    6
        Torrid common stock contemporaneously with sales by Defendants suffered
    7
        damages because (1) in reliance on the integrity of the market, they paid artificially
    8
        inflated prices as a result of the violations of §§10(b) and 20(a) of the Exchange Act
    9
        as alleged herein; and (2) they would not have purchased the securities at the prices
   10
        they paid, or at all, if they had been aware that the market prices had been artificially
   11
        inflated by the materially false and misleading statements and concealments alleged
   12
        herein.
   13
        V.       SAFE HARBOR PROVISION DOES NOT APPLY
   14
                 266. The statutory safe harbor provided for forward-looking statements
   15
        under the Private Securities Litigation Reform Act of 1995 does not apply to any of
   16
        the allegedly false statements pleaded in this Consolidated Complaint.              The
   17
        statements alleged to be false and misleading herein all relate to then existing facts
   18
        and conditions. In addition, to the extent certain of the statements alleged to be false
   19
        may be characterized as forward looking, they were not adequately identified as
   20
        “forward-looking statements” when made and there were no meaningful cautionary
   21
        statements identifying important factors that could cause actual results to differ
   22
        materially from those in the purportedly forward-looking statements. Furthermore,
   23
        to the extent that the statutory safe harbor is determined to apply to any forward-
   24
        looking statements pleaded herein, Defendants are liable for those false forward-
   25
        looking statements because at the time each of those forward-looking statements was
   26
        made, the speaker had actual knowledge that the forward-looking statement was
   27
        materially false or misleading, and/or the forward-looking statement was authorized
   28
                                                 - 78 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 84 of 91 Page ID #:587




    1 or approved by an executive officer of Torrid who knew that the statement was false
    2 when made.
    3 VI.        CLASS ACTION ALLEGATIONS
    4            267. Plaintiffs bring this action as a class action pursuant to Federal Rule of
    5 Civil Procedure 23(a) and (b)(3) on behalf of a Class consisting of purchasers of
    6 Torrid common stock during the Class Period. Excluded from the Class are
    7 Defendants and their immediate families, the officers and directors of the Company,
    8 at all relevant times, members of their immediate families and their legal
    9 representatives, heirs, successors or assigns and any entity in which Defendants have
   10 or had a controlling interest.
   11            268. The members of the Class are so numerous that joinder of all members
   12 is impracticable. Throughout the Class Period, Torrid shares were actively traded
   13 on the NYSE. While the exact number of Class members is unknown to Plaintiffs
   14 at this time, and can only be ascertained through appropriate discovery, Plaintiffs
   15 believe that there are hundreds of members in the proposed Class, if not more.
   16 Record owners and other members of the Class may be identified from records
   17 maintained by Torrid, its transfer agent or securities’ brokers, and may be notified
   18 of the pendency of this action electronically or by mail, using the form of notice
   19 similar to that customarily used in securities class actions.
   20       269. Plaintiffs’ claims are typical of the claims of the members of the Class
   21 as all members of the Class are similarly affected by Defendants’ wrongful conduct
   22 in violation of federal law complained of herein.
   23            270. Plaintiffs will fairly and adequately protect the interests of the members
   24 of the Class and has retained counsel competent and experienced in class action and
   25 securities litigation.
   26
   27
   28
                                                  - 79 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 85 of 91 Page ID #:588




    1            271. Common questions of law and fact exist as to all members of the Class
    2 and predominate over any questions solely affecting individual members of the
    3 Class. Among the questions of law and fact common to the Class are:
    4                       (a)   whether the federal securities laws were violated by Defendants’
    5 acts as alleged herein;
    6                       (b)   whether statements made by Defendants to the investing public
    7 during the Class Period misrepresented or omitted material facts about Torrid’s
    8 business and operations;
    9                       (c)   whether the price of Torrid common stock was artificially
   10 inflated during the Class Period; and
   11                       (d)   to what extent the members of the Class have sustained damages
   12 and the proper measure of damages.
   13            272. A class action is superior to all other available methods for the fair and
   14 efficient adjudication of this controversy since joinder of all members is
   15 impracticable. Furthermore, as the damages suffered by individual Class members
   16 may be relatively small, the expense and burden of individual litigation make it
   17 impossible for members of the Class to individually redress the wrongs done to them.
   18 There will be no difficulty in the management of this action as a class action.
   19 VII. PRAYER FOR RELIEF
   20            WHEREFORE, Plaintiffs pray for judgment as follows:
   21            A.         Declaring this action to be a class action properly maintained pursuant
   22 to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure and certifying Lead
   23 Plaintiff as Class Representative and Robbins Geller Rudman & Dowd LLP as Class
   24 Counsel;
   25      B.               Declaring that the Securities Act Defendants are liable pursuant to the
   26 Securities Act;
   27
   28
                                                      - 80 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 86 of 91 Page ID #:589




    1            C.         Declaring that the Exchange Act Defendants are liable pursuant to the
    2 Exchange Act;
    3            D.         Awarding compensatory damages in favor of Plaintiffs and the other
    4 Class members against all Defendants jointly and generally for all damages
    5 sustained as a result of Defendants’ wrongdoing in an amount to be proven at trial,
    6 together with interest thereon;
    7            E.         Awarding Plaintiffs and other members of the Class their costs and
    8 expenses of this litigation, including reasonable attorneys’ fees, accountants’ fees
    9 and experts’ fees, and other costs and disbursements;
   10            F.         Awarding rescission or a rescissory measure of damages; and
   11            G.         Awarding Plaintiffs and other members of the Class injunctive and
   12 other equitable relief, including rescission, as appropriate, in addition to any other
   13 relief that is just and proper under the circumstances.
   14 VIII. JURY DEMAND
   15            Plaintiffs hereby demand a trial by jury.
   16    DATED: May 12, 2023                          ROBBINS GELLER RUDMAN
                                                       & DOWD LLP
   17                                                 LAURIE L. LARGENT
                                                      STEPHEN JOHNSON
   18
   19
                                                              s/ LAURIE L. LARGENT
   20                                                          LAURIE L. LARGENT
   21                                                 655 West Broadway, Suite 1900
                                                      San Diego, CA 92101
   22                                                 Telephone: 619/231-1058
                                                      619/231-7423 (fax)
   23                                                 llargent@rgrdlaw.com
                                                      sjohnson@rgrdlaw.com
   24
                                                      Lead Counsel for Lead Plaintiff
   25
   26
   27
   28
                                                     - 81 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 87 of 91 Page ID #:590




    1
                                            VANOVERBEKE, MICHAUD
    2                                         & TIMMONY, P.C.
                                            THOMAS C. MICHAUD
    3                                       79 Alfred Street
                                            Detroit, MI 48201
    4                                       Telephone: 313/578-1200
                                            313/578-1201 (fax)
    5                                       tmichaud@vmtlaw.com
    6                                       Additional Counsel for Lead Plaintiff
    7
                                            LEVI & KORSINSKY LLP
    8                                       SHANNON L. HOPKINS (to be
                                            admitted pro hac vice)
    9                                       GREGORY M. POTREPKA (to be
                                            admitted pro hac vice)
   10                                       DAVID JAYNES
                                            1111 Summer Street, Suite 403
   11                                       Stamford, CT 06905
                                            Telephone: 203/9924523
   12                                       shopkins@zlk.com
                                            gpotreka@zlk.com
   13                                       djaynes@zlk.com
   14                                       Attorneys for Plaintiff Erika Schroth
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                           - 82 -
        4854-9104-7523.v1
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 88 of 91 Page ID #:591




   Certification of Plaintiff Pursuant to Federal Securities Laws
         I, Erika Schroth , duly certify and say, as to the claims asserted under the federal
 securities laws, that:

         1. I have reviewed the amended complaint and authorize its filing.

         2. I did not purchase the security that is the subject of this action at the direction of
 plaintiff's counsel or in order to participate in this action.

        3. I am willing to serve as a representative party on behalf of the class, including
 providing testimony at deposition and trial, if necessary.

         4. My transaction(s) in Torrid Holdings Inc. which are the subject of this litigation during
 the class period set forth in the amended complaint are set forth in the chart attached hereto.

        5. Within the last 3 years, I have not sought to serve nor have I served as a class
 representative in any federal securities fraud case.

         6. I will not accept any payment for serving as a representative party on behalf of the
 class beyond the Plaintiff's pro rata share of any recovery, except as ordered or approved by the
 court, including any award for reasonable costs and expenses (including lost wages) directly
 relating to the representation of the class.

         I certify under penalty of perjury that the foregoing is true and correct. Executed this

 Date: May 11, 2023
 Name: Erika Schroth

 Signature:




                                                                                                        83
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 89 of 91 Page ID #:592




  Case Name               Torrid Holdings Inc.
  Ticker                  CURV
  Class Period            06-30-2021 to 11-16-2022

  Client Name
  Erika Schroth

    Date of Transaction      Transaction Type            Quantity             Price per Share
       08-09-2021                   P                       1                    $ 26.6636*
       01-03-2022                   P                       2                    $ 09.6661*
       07-01-2022                   P                       5                    $ 04.2900*
       08-15-2022                   P                      150                   $ 06.9500*
       08-15-2022                   P                       35                   $ 07.1900*
       08-16-2022                   P                       2                    $ 07.1500*
       08-18-2022                   P                       35                   $ 06.7800*
       08-23-2022                   P                      100                   $ 06.1000*
       08-31-2022                   P                      200                   $ 05.7100
       09-19-2022                   P                      180                   $ 05.6100
       09-27-2022                   P                     2000                   $ 04.3500
       09-27-2022                   P                       1                    $ 04.3400
       09-27-2022                   P                       1                    $ 04.3400

  *Price per share was converted from CAD to USD using FX Rate provided per transaction




                                                Page 1                                          84
Case 2:22-cv-08375-JLS-AS Document 59 Filed 05/12/23 Page 90 of 91 Page ID #:593




    1                               CERTIFICATE OF SERVICE
    2            I hereby certify under penalty of perjury that on May 12, 2023, I authorized
    3 the electronic filing of the foregoing with the Clerk of the Court using the CM/ECF
    4 system which will send notification of such filing to the email addresses on the
    5 attached Electronic Mail Notice List, and I hereby certify that I caused the mailing
    6 of the foregoing via the United States Postal Service to the non-CM/ECF participants
    7 indicated on the attached Manual Notice List.
    8                                               s/ LAURIE L. LARGENT
                                                    LAURIE L. LARGENT
    9
                                                    ROBBINS GELLER RUDMAN
   10                                                     & DOWD LLP
                                                    655 West Broadway, Suite 1900
   11                                               San Diego, CA 92101-8498
                                                    Telephone: 619/231-1058
   12                                               619/231-7423 (fax)
   13                                               Email: llargent@rgrdlaw.com
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                                       85
        4854-9104-7523.v1
          Case
5/12/23, 12:33 PM2:22-cv-08375-JLS-ASDocument 59CM/ECF
                                                   Filed  05/12/23
                                                       - California CentralPage
                                                                           District 91 of 91 Page ID #:594

Mailing Information for a Case 2:22-cv-08375-JLS-AS Sandra Waswick v. Torrid Holdings, Inc. et al
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

   •   Adam Marc Apton
       aapton@zlk.com,ecf@zlk.com

   •   Kevin M. Askew
       kaskew@orrick.com

       Darrell S. Cafasso
       dcafasso@orrick.com

   •   Mark C. Holscher
       mark.holscher@kirkland.com,mholscher@kirkland.com,adrienne-levin-5018@ecf.pacerpro.com

   •   Stephen Johnson
       sjohnson@rgrdlaw.com

       Jennifer M. Keighley
       jkeighley@orrick.com

   •   James N. Kramer
       jkramer@orrick.com,lpatts@orrick.com,casestream@ecf.courtdrive.com

   •   Laurie L Largent
       llargent@rgrdlaw.com,agonzales@rgrdlaw.com,e_file_sd@rgrdlaw.com

       Brett M. Middleton
       brettm@johnsonfistel.com,kristeno@johnsonfistel.com,paralegal@johnsonfistel.com

   •   Austin C Norris
       austin.norris@kirkland.com,laura-bay-kirkland-ellis-llp-2744@ecf.pacerpro.com,jelani.solper@kirkland.com,laura.bay@kirkland.com

   •   Jennifer Pafiti
       jpafiti@pomlaw.com,ahood@pomlaw.com,egoodman@pomlaw.com,tprzybylowski@pomlaw.com,jlopiano@pomlaw.com,disaacson@pomlaw.com,ashmatkova@pom

       Laurence M. Rosen
       lrosen@rosenlegal.com,lrosen@ecf.courtdrive.com

   •   Alexander K. Talarides
       atalarides@orrick.com,lpatts@orrick.com

Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use your mouse
to select and copy this list into your word processing program in order to create notices or labels for these recipients.
   (No manual recipients)




                                                                                                                                                                           86
https://ecf.cacd.uscourts.gov/cgi-bin/MailList.pl?172583217676118-L_1_0-1                                                                                                  1/1
